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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 DANIEL SWEAR                                                    CIVIL ACTION

 VERSUS                                                          NO. 15-6591

 ARTHUR LAWSON, et al.                                           SECTION: “G”(1)


                                              ORDER

       In this litigation, Plaintiff Daniel Swear (“Plaintiff”), a former Gretna police officer, asserts

claims against Defendants Arthur Lawson (“Lawson”), the Chief of the Gretna Police Department;

Scott Vinson (“Vinson”), the Captain of the Patrol Division of the Gretna Police Department; and

the City of Gretna (collectively, Defendants). Plaintiff claims that Defendants generally violated

his First and Fourteenth Amendment rights by disciplining Plaintiff for failing to comply with the

Department’s alleged quota system and constructively discharging Plaintiff for speaking out

against the alleged quota system. Plaintiff brings claims for violations of his constitutional rights

pursuant to 42 U.S.C. § 1983 against the City of Gretna and against Vinson and Lawson in their

individual and official capacities. Plaintiff also claims that Defendants violated Louisiana Revised

Statute 23:967, which prohibits employer retaliation against whistleblowers, by constructively

discharging him for speaking out against the unlawful quota system.1

       Pending before this Court is Defendants’ motion for summary judgment, wherein Lawson

and Vinson assert that they are entitled to qualified immunity on all claims against them in their

individual capacities. Defendants also argue that they are not liable under 42 U.S.C. § 1983



       1
           Rec. Doc. 1.

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because Plaintiff points to no evidence showing that he was not permitted to freely speak out

against the alleged quota system, which they deny exists, or that Defendants in any other way

interfered with Plaintiff’s ability to speak out against the alleged quota system. 2 Defendants

further argue that no retaliation against Plaintiff took place because Plaintiff resigned by his own

free will, as a result of poor job performance.

        Having considered the motion, the complaint, the memoranda in support and opposition,

oral argument, and the applicable law, the Court will grant the motion, in part, to the extent that

Lawson is entitled to qualified immunity; Plaintiff’s Section 1983 first amendment retaliation

claims against Lawson and Vinson in their official capacities mirror Plaintiff’s Section 1983 first

amendment retaliation claim against the City of Gretna, so those claims against them are dismissed

on that ground; and because Plaintiff has abandoned his 14th Amendment claim, it is dismissed.

Furthermore, the Court will deny the motion, in part, to the extent that Plaintiff has identified

disputed issues of material fact as to Vinson’s entitlement to qualified immunity, Plaintiff’s

Section 1983 claim against the City of Gretna, and Plaintiff’s Louisiana whistleblower claim, such

that determination is not appropriate at the summary judgment stage.

                                          I. Background

A.      Factual Background

        In connection with their motion for summary judgment, Defendants provide seven

statements of “facts not in dispute,” upon which they rely in requesting judgment as a matter of

law:3


        2
            Rec. Doc. 31.
        3
            Rec. Doc. 31-21.

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             1. Plaintiff, Daniel Swear, was employed by the City of Gretna as a commissioned

                  police officer from December 2010 until he resigned in February 2015.

             2. On August 6, 2014, Mr. Swear was placed on a three-day suspension for failing to

                  adhere to Departmental Regulations arising from an incident on July 24, 2014.

             3. On or about December 17, 2014, Mr. Swear attended a meeting with one of the four

                  patrol divisions of the Gretna Police Department and Captain Vinson.

             4. He was reprimanded for unsatisfactory performance by Sgt. Danielle Rodriguez.

             5. On January 27, 2015, during roll call, Mr. Swear presented a colleague with gifts

                  that implied that he would need to perform sexual favors after being passed over

                  for promotion.

             6. On February 2, 2015, Mr. Swear executed the Rights Relative to Administrative

                  Proceedings Form and was officially reprimanded for the January 27, 2015

                  incident.

             7. Plaintiff has NO evidence that Chief Lawson had any knowledge of a quota system,

                  violated his Fourteenth or First Amendment Rights and further that he had only met

                  Chief Lawson at a Christmas party.

       Plaintiff admits statements 2, 3, and 6.4 On October 3, 3017, Plaintiff filed his “Concise

Statement of Fact Which Present Genuine Issues.” 5 Defendants do not address the statements

contained therein in any subsequent briefings. The parties clearly dispute the nature of the January

27, 2015 disciplinary action against Plaintiff; the circumstances of the meetings on December 2


       4
           Rec. Doc. 35-8.
       5
           Rec. Doc. 35-9 (Statement of Facts).

                                                  3
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and December 9 leading to Plaintiff’s termination of employment; whether a quota system was

mandated by the Gretna Police Department; and whether Plaintiff’s supervisors constructively

discharged Plaintiff for speaking out against the alleged quota system.

       In his Statement of Facts, Plaintiff alleges that on or about December 17, 2014 and/or

December 19, 2014, Plaintiff attended a mandatory meeting of the Gretna Police Department,

during which Plaintiff was informed that the Gretna Police Department was instituting a quota

policy.6 According to Plaintiff, the quota system mandated that each Gretna Police Officer issue

three traffic citations and/or summons per day and an average of one arrest every two days

worked.7 Plaintiff alleges that police officers and their supervisors were subject to mandatory

disciplinary action for any non-compliance with the quota system.8 According to Plaintiff, the

quota policy was overseen by Captain Vinson of the Gretna Police Department, and was known

by the administration of the department, which would include Chief Arthur Lawson.9

       Plaintiff avers that on December 20, 2014, he informed his supervisor, Sergeant Danielle

Rodriguez, that implementation of the quota policy was expressly prohibited by state law pursuant

to Louisiana Revised Statute 40:2401.1, and that he did not intend to participate in unlawful

activity.10 During the conversation on December 20, 2014, Plaintiff avers, Sergeant Rodriguez

twice confirmed that the mandatory minimum quota of tickets to be issued by patrol officers was




       6
            Id. at ¶17.
       7
            Id.
       8
            Id. at ¶¶7, 18.
       9
            Id. at ¶5,
       10
            Id. at ¶¶20–22, 24.

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three per day.11

       Plaintiff avers that Sergeant Rodriguez would hand out highlighted statistics during roll

call, reflecting how many citations and arrests an officer had made in order to show them in what

sections they were lacking and needed to improve before the end of the month.12 Plaintiff avers

that Vinson had a dry erase board in his office which listed the names of the patrol division and

tracked their compliance with the mandatory quota policy.13 Plaintiff further avers that the dry

erase board was “in plain view of all people walking by Scott Vinson’s office, including Chief

Arthur Lawson and Deputy Chief Anthony Christiana.”14 Plaintiff also avers that Officer Paige

Broulette was written up following the December 17 and/or 19, 2014 meeting for failing to meet

the “policy, practice, and custom for institutionalized quotas.”15

       According to Plaintiff, in addition to informing his supervisor, Plaintiff spoke out against

the quota system to fellow law enforcement officers of the Gretna Police Department.16 Plaintiff

avers that he also spoke out against the prohibited quota system to members of the public, including

but not limited to, friends and family members.17 Plaintiff also had a license plate made displaying

the Louisiana Revised Statute regarding illegal quotas and attached it to his personal vehicle for




       11
            Id. at ¶21.
       12
            Id. at ¶23.
       13
            Id. at ¶41.
       14
            Id. at ¶42.
       15
            Id. at ¶39.
       16
            Id. at ¶26.
       17
            Id.

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the public to view.18 Plaintiff additionally avers that he informed a special agent with the Federal

Bureau of Investigation, stationed in the New Orleans office, of the implementation and

administration of the quota system.19 Plaintiff avers that he also notified the Louisiana Attorney

General’s Office regarding the implementation of the quota system.20

       On February 2, 2015, Plaintiff alleges that he attended a meeting in the office of Captain

Scott Vinson.21 According to Plaintiff, also present in the meeting were Captain Russell Lloyd and

two Sergeants.22 At the meeting, Plaintiff alleges that he was threatened with termination if he

failed to participate in and meet the assigned quota and was reprimanded for attempting to break

the chain of command and speak to Deputy Chief Christiana directly. 23 Plaintiff alleges that

Vinson also informed Plaintiff at the meeting that he would be demoted from his position as a

Field Training Officer because his outspokenness concerning the illegal quota system could be

spread to new officers coming into the department.24 Plaintiff avers that immediately after the

February 2, 2015 meeting, he tendered a written letter containing a two week notice of resignation

from the Gretna Police Department. 25 Plaintiff avers that if he had been fired as opposed to




       18
            Id. at ¶28.
       19
            Id. at ¶27.
       20
            Id. at ¶44.
       21
            Id. at ¶32.
       22
            Id.
       23
            Id.
       24
            Id.
       25
            Id. at ¶33.

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resigning it would have affected his ability to get employment in the future.26

       On February 9, 2015, Plaintiff alleges, he attended a second meeting at the request of

Captain Scott Vinson; and during the meeting, he was informed that he was being written up for

making defamatory statements concerning the ethics of the Gretna Police Department. 27

According to Plaintiff, at the February 9, 2015 meeting, he was urged to resign immediately.28

Plaintiff further alleges that while he was still employed by the Gretna Police Department, he was

instructed that he needed to remove the license plate from his personal vehicle which referenced

Louisiana Revised Statute regarding illegal quotas, and that the directive came from “someone

above the rank of captain.”29

       On January 27, 2015, allegedly as a joke, Plaintiff gave one of his sergeants, David Heintz,

kneepads, a bottle of Jack Daniels, a jar of Vaseline, and ink pen refills because he was passed

over for a promotion.30 Plaintiff alleges that he gave the ink pen refills to Sergeant Heintz so that

he could issue more write-ups to his team for not meeting the quota.31 Plaintiff was subsequently

written up for the incident by Sergeant Rodriguez.32




       26
            Id. at ¶34.
       27
            Id. at ¶35.
       28
            Id.
       29
            Id. at ¶38.
       30
            Id. at ¶30.
       31
            Id.
       32
            Id. at ¶31.

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                                          II. Parties’ Arguments

A.     Defendants’ Arguments in Support of the Motion for Summary Judgment

       1.          Defendants contend that they are entitled to summary judgment on Plaintiff’s

                   Section 1983 claims.

       First, Defendants argue that Lawson and Vinson are entitled to qualified immunity for any

Section 1983 claims against them in their individual capacities because neither Vinson nor Lawson

violated Plaintiff’s constitutional right to free speech.33 Defendants do not dispute that Plaintiff

has a First Amendment right to free speech or that Plaintiff’s constitutional right to free speech

was clearly established at the time of the alleged violation. However, they contend that Plaintiff

cannot prove that his First Amendment rights were violated, as Plaintiff’s deposition reveals that

“(1) he spoke with family, (2) fellow officers, Lee Zurich, [sic] and the FBI, and (3) drove around

town with a license plate bearing the Louisiana revised statute for a ‘quota.’” 34 Therefore,

Defendants argue that Plaintiff was allowed to freely exercise his First Amendment rights while

employed by the Gretna Police Department.35 Furthermore, Defendants assert, even if Plaintiff’s

clearly established constitutional right was violated, “the conduct of the defendants was not

objectively unreasonable.”36

       Second, Defendants contend that the City of Gretna cannot be held liable for any actions

of Lawson or Vinson, nor can Lawson be held liable for any actions of Vinson, under a theory of



       33
            Rec. Doc. 31-1 at 9–11.
       34
            Id. at 11.
       35
            Id.
       36
            Id.

                                                    8
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respondeat superior, because the doctrine does not apply to Section 1983 claims.37 Moreover,

Defendants note that a supervisor who is not personally involved in the alleged acts causing the

constitutional violation can only be liable if they failed to train or supervise the officers involved.38

Defendants contend that there is no allegation that officers were improperly trained or supervised

in this case.39 Moreover, Defendants contend that the allegations of constitutional violations “do

not apply to Arthur Lawson as Chief of Police or the City of Gretna at all.”40

         Third, Defendants note that Plaintiff’s claims against Lawson and Vinson in their official

capacities are really claims against the City of Gretna.41 Even so, Defendants argue that Lawson

cannot be found liable because he did not know of any “quota” policy, nor was he present during

any discipline stemming from such a policy.42 Likewise, Defendants argue that Plaintiff cannot

show that Vinson’s alleged discipline of Plaintiff was because of his failure to follow the alleged

quota.43

         Fourth, Defendants argue that Plaintiff’s Section 1983 claim against the City of Gretna

fails because Plaintiff has not shown that a “policy or custom” caused the alleged constitutional

deprivation.44 Defendants contend that the only “policy or custom” contemplated in Plaintiff’s


         37
              Id. at 11–12 (citing Roberts v. City of Shreveport, 397 F.3d 287, 292 (5th Cir. 2005)).
         38
              Id. at 12 (citing Thompson v. Upshur Cnty., 245 F.3d 447, 459 (5th Cir. 2001)).
         39
              Id.
         40
              Id.
         41
              Id.
         42
              Id. at 12–13.
         43
              Id. at 13.
         44
           Id. (citing Monell v. Dep't of Soc. Servs., 436 U.S. 658, 690–91 (1978); Piotrowski v. City of Houston, 237
F.3d 567, 578 (5th Cir. 2001)).

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complaint is the alleged quota policy implemented by the Gretna Police Department.45 Defendants

argue that while no such policy exists, the existence of such a policy would be a violation of state

statutory law, not a constitutional violation.46 Because Plaintiff has not alleged that the Gretna

Police Department had a policy or custom of violating any constitutional rights, Defendants argue

that the City of Gretna cannot be held liable.47 Defendants further note that during his deposition

Plaintiff recounted at least three different purported standards of performance required by the

alleged quota policy.48 Therefore, by the nature of such variance, Defendants contend that no

policy or custom could have possibly been established.49 Moreover, even if a custom or policy

existed, Defendants argue, Plaintiff has not shown that the alleged quota system was the “moving

force” behind his alleged constitutional violations, and that municipal policymakers knew or

should have known of the alleged pattern of wrongdoing.50

         Finally, Defendants argue that Plaintiff has failed to demonstrate a Section 1983 violation

of his First Amendment right to engage in protected speech or be free from retaliation. 51

Defendants again argue that Plaintiff was not terminated by the Gretna Police Department but




         45
              Id.
         46
              Id.
         47
              Id.
         48
              Id at 13–14.
         49
              Id at 14.
        50
           Id. at 16–17. Defendants also assert that Plaintiff’s Section 1983 claims regarding alleged violations of his
Fourteenth Amendment due process rights fail. Id. at 18. However, Plaintiff abandoned this claim during oral
argument.
         51
              Id. at 19–21.

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resigned of his own free will.52 Defendants additionally assert that neither Vinson nor Lawson

ever interfered with Plaintiff’s freedom of expression. 53 Moreover, they argue that because

Plaintiff was not terminated, but voluntarily resigned, and his freedom of speech was not interfered

with by Vinson or Lawson, Plaintiff has no claim against Vinson or Lawson that his First

Amendment right to free speech was violated.54

       Defendants contend that Plaintiff failed to even plead each element of a Section 1983 First

Amendment retaliation claim, that: “(1) he suffered an adverse employment action; (2) he spoke

as a citizen on a matter of public concern; (3) his interest in the speech outweighs the government’s

interest in the efficient provision of public services; and (4) the speech precipitated the adverse

employment action.”55 Defendants argue that despite Plaintiff’s allegations that he suffered an

adverse employment action and that he spoke as a citizen on a matter of public concern, Plaintiff

failed to even plead that his interest in the speech outweighs the government’s interest in the

efficient provision of policing the community of Gretna, and that the speech precipitated the

adverse employment action.56

       Furthermore, Defendants argue, Plaintiff’s claim that he suffered an adverse employment

action fails because the determinative factor of a constructive discharge is not the employer’s

intentions, but instead, the effect of the conditions on a reasonable employee.57 Defendants aver



       52
            Id. at 19.
       53
            Id. at 19–20.
       54
            Id. at 18–19.
       55
            Id. at 20 (citing Nixon v. City of Houston, 511 F.3d 494, 497 (5th Cir. 2007)).
       56
            Id.
       57
            Id. at 20–21 (citing Kelleher v. Flawn, 761 F.2d 1079 (5th Cir. 1985); Jett v. Dallas Indep. Sch. Dist., 798
                                                          11
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that Plaintiff cannot meet his burden of showing that due to his exercise of free speech, the

Department imposed conditions so intolerable that a reasonable person would have felt compelled

to resign.58

         2.          Defendants contend that they are entitled to summary judgment on Plaintiff’s

                     state law whistleblower claim.

         Defendants argue that Plaintiff has not proven that his employer committed an actual

violation of state law, as required by Louisiana Revised Statute 23:967.59 Specifically, Defendants

contend that there was no quota system present at the Gretna Police Department, and therefore,

there was no actual violation of state law upon which a whistleblower claim can be based.60

B.       Plaintiff’s Arguments in Opposition to Defendants’ Motion for Summary Judgment

         1.          Plaintiff asserts that genuine issues of material fact preclude summary

                     judgment on his Section 1983 claims.

         With respect to Lawson and Vinson’s qualified immunity defenses, Plaintiff acknowledges

that “[o]fficials enjoy qualified immunity, in their individual capacity, to the extent that their

conduct is objectively reasonable in light of clearly established law.61 Plaintiff argues, however,

that Lawson and Vinson are not entitled to qualified immunity because the First Amendment right

to free speech is a clearly established right and their violation of it was not objectively reasonable.62


F.2d 748, 755 (5th Cir. 1986)).
         58
              Id. at 21.
         59
              Id. at 21–22.
         60
              Id. at 22.
         61
           Rec. Doc. 35 at 19 (citing Kinney v. Weaver, 367 F.3d 337 (5th Cir. 2004) (en banc); Harlow v. Fitzgerald,
457 U.S. 800, 818, (1982)).
         62
              Id. at 19–21 (citing Warnock v. Pecos Cty., Tex., 116 F.3d 776, 781-782 (5th Cir. 1997); Thompson, 901
                                                         12
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Plaintiff specifically argues that Defendants actions were not objectively reasonable because

“speech regarding the existence of an unlawful quota system within the Gretna Police Department

was clearly of significant public concern, protected by the guarantees of the First Amendment and

a causal connection exists between the plaintiff’s speech and the constitutional violation alleged.”63

Moreover, Plaintiff argues, it would have been objectively unreasonable for a public official “with

authority to reprimand, demote and terminate, or credibly threaten to terminate, a public employee

in retaliation for speech” of the type Plaintiff engaged in.64

        Regarding the “policy or custom” required to establish municipal liability pursuant to 42

U.S.C. § 1983, Plaintiff argues that the “institutionalized and systemic illegal quota system of the

Gretna Police Department has been so longstanding and widespread that is [sic] de facto the very

custom, policy, practice and usage having the force and effect of law for the police department.”65

Therefore, Plaintiff contends that “the evidence submitted is replete with material facts, which

render summary judgment improper with regard to Monell municipal claims.”66

        Plaintiff asserts that summary judgment should be denied as to his First Amendment

retaliation claim brought under Section 1983 because genuine issues of material fact exist

regarding each element of the claim.67 Plaintiff notes that there is a four-step test required to

establish a retaliation claim: (1) the plaintiff suffered an adverse employment decision; (2) the


F.2d at 468–470)).
        63
             Id. at 20.
        64
             Id. at 20–21.
        65
             Id. at 18.
        66
             Id.
        67
             Id. at 4–13.

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plaintiff’s speech involved a matter of public concern; (3) the plaintiff’s interest in speaking

outweighed the governmental defendant’s interest in promoting efficiency; and (4) the protected

speech motivated the defendant’s conduct.”68 Moreover, Plaintiff notes that the employee must

have spoken as a citizen, rather than solely as an employee.69 Here, Plaintiff contends that he

suffered an adverse employment decision when he was constructively discharged from the Gretna

Police Department; he spoke on the quota system as a citizen, and his speech involved a matter of

public concern; his interest in speaking outweighed any governmental interest in promoting

efficiency; and the protected speech motivated Defendant’s conduct effectuating the constructive

discharge.70

           In support of Plaintiff’s claim that he suffered from adverse employment decisions,

Plaintiff points to the following facts, which he contends require a denial of summary judgment:

(1) he received a formal disciplinary reprimand from his immediate supervisor Sergeant Danielle

Rodriguez for failing to meet the mandated quota of the Gretna Police Department Patrol Division

for the month of December 2014;71 (2) his field training officer position with the Gretna Police

Department was terminated on February 2, 2015; at the same meeting where Plaintiff was informed

of his termination, Captain Vinson referred to Plaintiff’s speech regarding the department-wide

quota system as “poison,” and Plaintiff was reprimanded by Vinson for attempting to break the

chain of command in order to speak with Deputy Chief Christiana directly about the illegal quota


           68
                Id. at 4–5 (citing Pickering v. Bd. of Educ., 391 U.S. 563 (1968); Connick v. Myers, 461 U.S. 138, 142
(1983)).
           69
                Id. at 5 (citing Garcetti v. Ceballos, 547 U.S. 410 (2006)).
           70
                Id. at 5–13.
           71
                Id. at 6 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 193; Rec. Doc. 35-9 (Statement of Facts)
at ¶29).

                                                              14
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system;72 (3) in response to Captain Vinson’s statements and action, Plaintiff submitted a letter of

resignation, giving a two-week notice of separation of employment, which the police department

did not honor and instead required Plaintiff to involuntarily use two weeks of accrued vacation

time;73 (4) thereafter, Plaintiff was summoned to a second meeting with Captain Vinson, who gave

Plaintiff the opportunity to resign immediately in lieu of termination and investigation for making

defamatory statements against the Gretna Police Department in the form of speech against the

illegal quota system; 74 and (5) Plaintiff was later contacted by the head of the Gretna Police

Department Internal Affair Bureau and directed to remove a license plate from his personal vehicle

which displayed Louisiana Revised Statute 40:2401.1.75

         Next, Plaintiff asserts that his speech “complaining of misconduct within the police

department is speech addressing a matter of public concern.”76 According to Plaintiff, his speech

pertained to the unlawfulness and illegality of the alleged quota system implemented and enforced

by the Gretna Police Department.77 Plaintiff further asserts, “[E]xposure of official misconduct,

especially within the police department, is generally of great consequence to the public.” 78 In



         72
           Id. at 6–7 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 54, 98, 99, 101, 105, 135-36; Rec. Doc.
35-9 (Statement of Facts)).
         73
           Id. at 7 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 54, 98, 99, 101, 105, 135-36; Rec. Doc. 35-
9 (Statement of Facts)).
         74
              Id. (citing Rec. Doc. 35-9 (Statement of Facts) at ¶35).
         75
              Id. (citing Rec. Doc. 35-9 (Statement of Facts) at ¶38).
         76
            Id. (citing Thompson v. City of Starkville, Miss., 901 F.2d 456, 463 (5th Cir. 1990); Wallace v. Tex. Tech.
Univ., 80 F.3d 1042, 1051 (5th Cir. 1992)).
         77
              Id.
         78
           Id. at 8–9 (citing Brawner v. City of Richardson¸855 F.2d 187, 191–92 (5th Cir. 1988); Davis v. Ector
County, 40 F.3d 777, 782 (5th Cir. 1995); Denton v. Morgan, 136 F.3d 1038, 1043 (5th Cir. 1998)).

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addition, Plaintiff argues that his statements were made as a citizen, not merely as an employee.79

Plaintiff asserts that he spoke out against the alleged quota system of the Gretna Police Department

to “anyone who would listen” and had a license plate made which displayed the Louisiana state

law prohibiting quotas for law enforcement officers.80 According to Plaintiff, he spoke out against

the quota system both within his employment and outside his employment, speaking non-

exclusively to his immediate supervisors (Sgts. Rodriguez and Heintz), fellow officers, his father,

grandmother, the FBI, the harbor patrol, a television investigative reporter, two FBI agents, and

the Louisiana Office of the Attorney General.81 Therefore, Plaintiff asserts, his statements were

not undertaken as an employee but as a citizen.82

       Plaintiff next argues that the Gretna Police Department’s implementation of a quota system

was a violation of Louisiana statutory law, and “the effective and efficient operation and

functioning of any governmental agency cannot be based upon a violation of law and the rights of

the very citizens to whom and for whom they are charged with providing services.” 83 Thus,

Plaintiff contends, his interest in speaking outweighs the governmental defendant’s interest in

promoting efficiency.84

       Finally, Plaintiff argues, without pointing to specific evidence, that the causation

requirement is “easily satisfied for the purpose of defeating summary judgment” by the “direct


       79
            Id.
       80
            Id. at 9.
       81
            Id. at 11.
       82
            Id. at 12.
       83
            Id. at 12–13.
       84
            Id. at 12 (citing Branton, 272 F.3d 730 (citing Rankin, 483 U.S. at 388, and Pickering, 391 U.S. at 568)).

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evidence and inferences readily drawn from the circumstantial evidence presented in the

pleadings.”85 Moreover, Plaintiff asserts that there is at least an issue of material fact as to whether

his failing to comply with the quota system and speaking out against the quota system was a

“substantial or motivating factor” of his constructive discharge.86

        2.          Plaintiff asserts that genuine issues of material fact preclude summary

                    judgment on his state law whistleblower claim.

        Last, Plaintiff claims that genuine issues of material fact exist as to whether Defendants

violated Louisiana Revised Statute 23:967, the Louisiana whistleblower statute, by retaliating

against him for speaking out against the unlawful quota system implemented by the Gretna Police

Department.87 Plaintiff argues that he has submitted evidence that a quota system exists within the

Gretna Police Department, and that he disclosed the unlawful quota system to law enforcement

authorities within and outside his agency and department.88 Citing Plaintiff’s “Concise Statement

of Fact Which Presents Genuine Issues,” Plaintiff further argues that his employer engaged in

reprisal for Plaintiff’s reporting and refusal to participate in the unlawful quota system. 89 As

material issues of fact are in dispute regarding his claim pursuant to the Louisiana whistleblower

statute, Plaintiff contends, Defendants’ motion for summary judgment on this claim must be

denied.90


        85
             Id. at 13.
        86
             Id.
        87
             Id. at 21.
        88
             Id. at 22–23.
        89
             Id. at 23.
        90
             Id.

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C.       Defendants’ Arguments in Further Support of Summary Judgment

         In the reply brief, Defendants argue that they cannot be held liable for Plaintiff’s perception

that there was a violation of state law because “a perceived violation of state law is not a violation

of plaintiff’s constitutional rights.”91 Moreover, Defendants assert that discovery is complete and

no material facts exist as to the claims asserted, such that summary judgment is proper.92

         Defendants argue that Plaintiff did not address two elements of Plaintiff’s First

Amendment retaliation/discrimination claim: (1) that the interest in the speech outweighs the

government’s interest in the efficient provision of public services; and (2) that the speech

precipitated the adverse employment action. 93 Additionally, Defendants argue that Plaintiff’s

conclusion that he was disciplined by Sergeant Rodriguez for failing to meet the alleged quota

system has no basis, and that the record evidence establishes that Plaintiff had a history of

discipline.94 Accordingly, Defendants assert, “Plaintiff has not, and cannot, establish that within

the less than three-month period serving as the relevant time period in his Complaint, the Gretna

Police Department made it so difficult to exercise his free speech rights that he felt compelled to

resign.”95

         Defendants also argue that Plaintiff has not shown a policy or custom sufficient to impose

municipal liability because the relevant time period is “limited to less than a three-month period


         91
              Rec. Doc. 40 at 1.
         92
            Id. at 2. Defendants, however, object to several declarations presented by Plaintiff, which, Defendants
assert, contain hearsay within hearsay, prohibited by Federal Rule of Evidence 805.
         93
              Id. at 5.
         94
             Id. Defendants also purportedly identify an inconsistency in Plaintiff’s evidence regarding who instructed
Plaintiff to remove the license plate bearing Louisiana Revised Statute 40:2401.1.
         95
              Id.

                                                         18
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between December 17, 2014 when [Plaintiff] pleads that the ‘quota’ system was instituted and

February 2, 2015 when he resigned.”96 Defendants thereby contend that “[i]t is unreasonable to

conclude, and unsupported by the record evidence, that a custom or pattern of unconstitutional

activity that is ‘so widespread as to have the force of law’ and ‘occurring for so long or so

frequently . . . that the objectionable conduct is the expected, accepted practice of city employees’,

occurred within a three month period.”97

       Defendants also argue that Plaintiff provides no record evidence to impose municipal

liability on the City of Gretna other than three former officers’ perceptions and conclusions

regarding “irrelevant and unnecessary” allegations outside the scope of Plaintiff’s claim that a

“quota” was implemented on December 17, 2014.98 Defendants argue that by statutory definition,

a “quota” requires the establishment of a plan to evaluate, promote, compensate, or discipline a

law enforcement officer on the basis of a “predetermined or specified number,” and Plaintiff has

failed to show that any “predetermined or specified number” existed that was “so widespread as

to have the force of law,” especially since four variations of the quota system are provided by

different people.99 Additionally, Defendants assert that “Plaintiff admits that the [dry erase] board

[used by Captain Vinson] was nothing but a motivational prop.”100 Moreover, Defendants argue,

a quota system is not a “deprivation of a federal right,” even if one did exist.101 Last, Defendants


       96
             Id. at 6.
       97
             Id. at 7.
       98
             Id. at 6.
       99
             Id. at 6–8.
       100
             Id. at 8.
       101
             Id. at 9.

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assert, “Plaintiff has failed to adequately establish through record evidence the requisite actual or

constructive knowledge on the part of the sole policymaker, Chief Arthur Lawson, or that

leadership failed to take corrective action once it learned of the violations.” 102 Accordingly,

Defendants conclude, no municipal liability exists in this case.

         Finally, pursuant to Louisiana Revised Statute 23:967, the Louisiana Whistleblower Act,

Defendants assert that Plaintiff must prove that his employer committed an actual violation of state

law, which Plaintiff has failed to do insofar as a quota system does not exist.103

D.       Plaintiff’s Arguments in Sur-Reply

         In the sur-reply, Plaintiff asserts that with one exception, Defendants do not identify

specific objections to and/or deficiencies in evidence, such that Plaintiff is adequately notified and

afforded the opportunity to rebut.104 Next, Plaintiff argues that Defendant’s attempt to limit the

relevant time period to a three month window is “not a good faith argument.”105 Plaintiff asserts

that evidence beyond that time period “is an absolute necessity in order to satisfy its duty to

produce evidence of a pattern, practice, policy, usage or custom as required.”106

         Regarding the dry erase board used by Captain Vinson, Plaintiff asserts, “[t]he declaration



         102
               Id. at 9.
         103
               Id.
          104
              Rec. Doc. 44 at 2. Regarding the one specific objection Defendants raised to the alleged double hearsay
in the form of transcripts of audio recording and statements of others in declarations, Plaintiff contends that Defendants
failed to recognize the applicable non-hearsay Federal Rule of Evidence 801 and the hearsay exceptions set forth in
Rule 802 and 807.
         105
               Id. at 3.
         106
            Id. Plaintiff also clarifies the inconsistency regarding who instructed Plaintiff to remove the license plate
bearing Louisiana Revised Statute 40:2401. Id. Plaintiff explains that the individual who was head of the Gretna Police
Department Internal Affairs Bureau at the time the directive was made to remove the license plate is currently the
Deputy Chief in Westwego, and presumably that is why two conflicting titles were referred to. Id.

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of Brouillette unequivocally states that Captain Vinson himself informed her of what the board

was and what it meant.”107 Furthermore, Plaintiff avers, he never admitted that the board was a

motivational prop.108

E.     October 11, 2017 Oral Argument

       During oral argument, Defendants asserted that Plaintiff failed to point to any evidence in

the record showing that Defendants in any way impeded Plaintiff’s ability to speak out against the

alleged quota system. With respect to the alleged disciplinary action taken by Vinson against

Plaintiff at the February 9 meeting, Defendants explained that any action taken at that meeting

cannot have had a disciplinary effect because Plaintiff resigned on February 2, seven days earlier.

In addition, Defendants argued that Plaintiff had a history of poor job performance, and to the

extent he was disciplined during the course of his employment, it was for that reason alone.

Moreover, Defendants argued that Plaintiff relies on speculation and personal understanding to

show that he was disciplined because he spoke out against the alleged quota system, but Plaintiff

fails to point to any facts in the record raising a material issue of fact precluding summary

judgment.

       Defendants further argued that Plaintiff’s evidence of a quota system is merely colorable,

not significantly probative, which falls short of the summary judgment standard. According to

Defendants, there is only a three month window between when Plaintiff became aware of the

alleged quota system and when his employment terminated, and the quota system cannot have

been established in such a widespread manner in that short time period, as would be required to


       107
             Id.
       108
             Id.

                                                21
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establish municipal liability. Furthermore, Defendants argued that Plaintiff alleges five different

quota systems have been implemented by the Gretna Police Department, which defeats the

possibility of any one policy or custom existing. Thus, Defendants claim they are entitled to

judgment in their favor as a matter of law, as to all claims.

        Plaintiff argues that Lawson and Vinson are not entitled to qualified immunity because it

is clearly established law that an employer cannot fire an individual for speaking out against illegal

activity. Furthermore, Plaintiff argued, a longstanding practice of the Gretna Police Department

implementing a quota system can be shown by the record evidence. Plaintiff also abandoned his

Fourteenth Amendment claim.

     At the close of oral argument, the Court stated that in order to survive a motion for summary

judgment, Plaintiff must point to record evidence that shows that there is a disputed issue of

material fact. The Court further stated that in order for Defendants to prevail on their motion for

summary judgment, they must show that there is no material fact in dispute; and if a factual dispute

indeed exists, it is Defendants’ burden to show that any such disputed facts are immaterial. The

Court permitted both parties to file supplemental memoranda pointing to evidence in the record of

disputed material facts, or the absence thereof, by the following week.


F.      Plaintiff’s Clarification of Facts in the Record Which Create Genuine Issues Regarding

        the Deprivation of Plaintiff’s First Amendment Rights

        In the “Memorandum to Clarify,” filed after oral argument, in opposition to the motion for

summary judgment, Plaintiff directs the Court to facts in the memorandum in opposition that

reference the adverse employment action that was taken against Plaintiff for speaking out against

the Gretna Police Department’s illegal quota system, which Plaintiff alleges requires a denial of

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defendants’ motion for summary judgment. 109 Specifically, Plaintiff identifies evidence in the

record, principally Plaintiff’s deposition testimony, which Plaintiff contends supports the

following facts: (1) Plaintiff received a disciplinary reprimand from his immediate supervisor

Sergeant Danielle Rodriguez for failing to meet the mandate quota of the Gretna Police

Department, which was memorialized in written memorandum;110 (2) Plaintiff not only spoke

against the illegal quota to Sgt. Rodriguez but “to anyone that would listen to him;”111 (3) Plaintiff

affixed a license plate on the front of his vehicle which referenced the Louisiana statute prohibiting

quotas;112 (4) at a meeting on February 2, 2015, Vinson admonished Plaintiff for breaking the

chain of command in trying to set up a meeting with the Deputy Chief,113 referred to Plaintiff’s

speech against the Gretna Police Department’s quota as “poison,” and informed Plaintiff that he

would be demoted from his position as a Field Training Officer;114 (5) Captain Vinson advised

Plaintiff that he was also going to recommend that he be terminated and persist until Plaintiff was

terminated;115 (6) Plaintiff felt compelled to turn in his letter of resignation at this meeting;116 (7)

termination would have affected his future employment;117 (8) at a second meeting on February


           109
                 Rec. Doc. 47 at 1–2.
           110
                 Id. at 2 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 178; Rec. Doc. 35-9 (Statement of Facts)
at ¶29).
           111
                 Id. (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 47–50, 101, 131–32, 141).
         112
             Id. (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 49–50, 101, 101–103; Rec. Doc. 35-3
(Declaration of Paige Brittany Brouillette) at ¶18; Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶28; Rec.
Doc. 35-5 (Photograph of Swear License Plate)).
           113
                 Id. at 2–3 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 142).
           114
                 Id. at 3 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 98–99, 101, 105).
           115
                 Id. (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 100–01).
           116
                 Id. at 4.
           117
                 Id. at 4–5 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 136; Rec. Doc. 35-1 (Declaration of
                                                             23
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9, 2015, Vinson threatened to terminate and investigate Plaintiff for making defamatory statements

against the Gretna Police Department in the form of speech against the illegal quota system if he

did not immediately resign; 118 and (9) at some point during his employment, Plaintiff was

instructed by the head of the Gretna Police Department’s Internal Affairs Bureau to remove the

license plate if he wanted to remain a member of the Gretna Police Department.119

         Plaintiff further notes that Defendants put forth no evidence that the February 2, 2015, or

February 9, 2015 meetings did not occur as described by Plaintiff.120 Plaintiff similarly points out

that Vinson’s affidavit does not proffer “any facts to rebut Plaintiff’s account of the adverse

employment actions.”121 Finally, Plaintiff avers that Defendants admitted that Defendant Lawson

had the responsibility for making decisions concerning dismissals, demotions, and discipline, and

that authority could be delegated.122

G.       Defendants’ Arguments Establishing Lack of Record Evidence to Support Plaintiff’s

         First Amendment Claim

         In Defendants’ memorandum filed after oral argument on the motion for summary

judgment, with respect to Plaintiff’s First Amendment retaliation or discrimination claim, Lawson

argues that Plaintiff did not tell him about the alleged quota.123 Additionally, Defendants argue



David Brian Heintz) at ¶6; Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶15).
         118
               Id. at 5–6 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 53–54).
         119
               Id. at 6 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 102–03).
         120
               Id. at 7.
         121
               Id.
         122
               Id.
         123
               Rec. Doc. 49 at 2 (citing Rec. Doc. 31-2 at 50:13-14).

                                                           24
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that there is no record evidence that the Gretna Police Department made any condition so

intolerable that a reasonable person in Plaintiff’s shoes would be compelled to resign. 124

Defendants also argue that Plaintiff’s perception that the January 13, 2015 reprimand by Sergeant

Rodriguez was a result of Plaintiff’s failure to meet an alleged quota is false; rather, Defendants

argue, without citing any evidence, that Plaintiff was reprimanded because Plaintiff did not want

to enforce traffic laws during the holidays without permission to suspend his sworn duty.125

       In addition, Defendants argue that Plaintiff’s resignation was effective on February 2, 2015,

because Plaintiff only indicated that he was “willing to work two additional weeks,” but that the

Gretna Police Department had no obligation to accept Plaintiff’s offer and did not. 126

Nevertheless, Vinson and Lawson argue, Plaintiff has not pointed to any record evidence that

either of them took any steps to stop his speech, and that according to Plaintiff’s own deposition

testimony, Plaintiff was allowed to freely exercise his right to speech.127 Defendants argue that

Plaintiff’s entire claim is based upon speculation, pointing to Plaintiff’s deposition testimony in

which Plaintiff stated that he did not know whether Captain Vinson or Captain Lloyd agreed that

there was a quota system, and he did not know that was their interpretation of the December 14 or

17 meeting.128

       Furthermore, Defendants argue that Plaintiff’s perception of what occurred on February 9,

2015, is unnecessary and irrelevant and cannot possibly constitute a constructive discharge, as it


       124
             Id.
       125
             Id. at 3–4.
       126
             Id. at 4.
       127
             Id. at 5.
       128
             Id. at 6 (citing Rec. Doc. 31-2 at 105:23-25, 106:1-2).

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was seven days after Plaintiff’s last day as a full-time member of the police force.129 Defendants

assert that “as a matter of undisputed fact, no ‘intolerable conditions’ were present between

February 2 and 9, 2015, as Plaintiff could not be fired after he resigned.”130 Defendants point to

the timeline of events, which Defendants, without citing evidence, assert occurred between

December 14, 2014 and February 9, 2015, as further support that the record fails to establish any

violation of Plaintiff’s First Amendment rights by Lawson, and fails to establish that any policy or

custom to violate Plaintiff’s constitutional rights was ongoing for so long “as to be widespread and

have the force of law.”131

                         III. Legal Standard on a Motion for Summary Judgment

         Summary judgment is appropriate when the pleadings, the discovery, and any affidavits

show that “there is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.”132 When assessing whether a dispute as to any material fact exists, the court

considers “all of the evidence in the record but refrains from making credibility determinations or

weighing the evidence.”133 All reasonable inferences are drawn in favor of the nonmoving party,

but “unsupported allegations or affidavits setting forth ‘ultimate or conclusory facts and

conclusions of law’ are insufficient to either support or defeat a motion for summary judgment.”134




         129
               Id.
         130
               Id.
         131
               Id. at 6–7.
         132
            Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986); Little v. Liquid Air
Corp., 37 F.3d 1069, 1075 (5th Cir. 1994).
         133
               Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398–99 (5th Cir. 2008).
         134
               Galindo v. Precision Am. Corp., 754 F.2d 1212, 1216 (5th Cir. 1985); Little, 37 F.3d at 1075.

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If the record, as a whole, “could not lead a rational trier of fact to find for the non-moving party,”

then no genuine issue of fact exists, and the moving party is entitled to judgment as a matter of

law.135

          “[A] nonmoving party is not entitled to rest on his pleadings, but must carry his burden of

providing evidence of a genuine issue of material fact.”136 “That burden can be met by depositions,

answers to interrogatories and admissions on file and affidavits.” 137 The Fifth Circuit has

“repeatedly held that self-serving affidavits, without more, will not defeat a motion for summary

judgment.”138 However, a nonmovant’s deposition testimony is often considered by a court in

recognizing that a genuine issue of material fact exists, which precludes summary judgment.139

          The party seeking summary judgment always bears the initial responsibility of informing

the Court of the basis for its motion and identifying those portions of the record that it believes

demonstrate the absence of a genuine issue of material fact.140 Thereafter, the nonmoving party

should “identify specific evidence in the record, and articulate” precisely how that evidence

supports his claims.141 To withstand a motion for summary judgment, the nonmoving party must



          135
                Matsushita Elec. Indus. Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).
          136
             King v. Chide, 974 F.2d 653, 656 (5th Cir. 1992) (citing Reese v. Anderson, 926 F.2d 494, 499 (5th Cir.
1991)); see also Celotex, 477 U.S. at 325; see also Ragas v. Tenn. Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998).
          137
                Id. (citing Fed. R. Civ. P. 56(c)).
          138
            Tyler v. Cedar Hill Indep. Sch. Dist., 426 Fed.Appx. 306, 307 (5th Cir. 2011) (per curiam) (citing
DirectTV, Inc. v. Budden, 420 F.3d 521, 531 (5th Cir. 2005); United State v. Lawrence, 276 F.3d 193, 197 (5th Cir.
2001)).
          139
                See, e.g., Vetter v. Frosch, 599 F.2d 630 (5th Cir. 1979); see also, e.g., King, 974 F.2d at 656 (5th Cir.
1992).
          140
                Celotex, 477 U.S. at 323.
          141
                Forsyth v. Barr, 19 F.3d 1527, 1537 (5th Cir.), cert. denied, 513 U.S. 871 (1994).

                                                             27
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show that there is a genuine issue for trial by presenting evidence of specific facts. 142 The

nonmovant’s burden of demonstrating a genuine issue of material fact is not satisfied merely by

creating “some metaphysical doubt as to the material facts,” “by conclusory allegations,” by

“unsubstantiated assertions,” or “by only a scintilla of evidence.” 143 Rather, a factual dispute

precludes a grant of summary judgment only if the evidence is sufficient to permit a reasonable

trier of fact to find for the nonmoving party. Hearsay evidence and unsworn documents that cannot

be presented in a form that would be admissible in evidence at trial do not qualify as competent

opposing evidence.144

                                              IV. Law and Analysis

        Plaintiff brings claims against Defendants for violation of his First and Fourteenth

Amendment rights pursuant to Section 1983. As an initial matter, the Court notes that Plaintiff

abandoned his Fourteenth Amendment claim at the October 11, 2017 hearing. Therefore, the Court

will dismiss the Fourteenth Amendment claim. Plaintiff also brings claims against Defendants for

violating the Louisiana Whistleblower Statute. Defendants move for summary judgment on all of

Plaintiff’s claims. Accordingly, the Court will address whether Defendants are entitled to summary

judgment on each of these claims in turn.

A.      Whether Defendants are entitled to summary judgment on Plaintiff’s Section 1983

        claims?

        To bring a claim under 42 U.S.C. § 1983, a plaintiff is required to allege facts


        142
           Bellard v. Gautreaux, 675 F.3d 454, 460 (5th Cir. 2012) (citing Anderson v. Liberty Lobby, Inc., 477 U.S.
242, 248–49 (1996)).
        143
              Little, 37 F.3d at 1075.
        144
              Fed. R. Civ. P. 56(c)(2); Martin v. John W. Stone Oil Distrib., Inc., 819 F.2d 547, 549 (5th Cir. 1987).

                                                           28
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demonstrating that: (1) the defendant violated the Constitution or federal law; and (2) that the

defendant was acting under the color of state law while doing so. 145 Section 1983 reads, in

pertinent part:

       Every person who, under color of any statute, ordinance, regulation, custom, or
       usage, of any State or Territory or the District of Columbia, subjects, or causes to
       be subjected, any citizen of the United States or other person within the jurisdiction
       thereof to the deprivation of any rights, privileges, or immunities secured by the
       Constitution and laws, shall be liable to the party injured in an action at law, suit in
       equity, or other proper proceeding for redress . . . .146

       Plaintiff brings claims for violations of his First Amendment rights pursuant to

Section 1983 against the City of Gretna and against Vinson and Lawson in their individual and

official capacities. In the motion for summary judgment, Defendants contend that Plaintiff’s

Section 1983 claims should be dismissed because: (1) Lawson and Vinson are entitled to qualified

immunity on all claims against them in their individual capacities; (2) no genuine issues of material

fact exist precluding summary judgment on Plaintiff’s Section 1983 First Amendment Claim

against Lawson and Vinson in their individual capacities; (3) Lawson and Vinson are entitled to

summary judgment on Plaintiff’s Section 1983 claims against them in their official capacity

because these claims mirror Plaintiff’s claims against the City of Gretna; and (4) the City of Gretna

is entitled to summary judgment on Plaintiff’s Section 1983 claims against it because Plaintiff has

not established that a “policy or custom” caused the alleged constitutional deprivation.

Accordingly, the Court addresses each of these issues in turn.




       145
             See Atteberry v. Nocona Gen. Hosp., 430 F.3d 245, 252–53 (5th Cir. 2005).
       146
             42 U.S.C. § 1983.

                                                       29
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       1.          Whether Lawson and Vinson are entitled to qualified immunity on the Section

                   1983 claims brought against them in their individual capacities?

                   a.      Legal Standard on Qualified Immunity

       The doctrine of qualified immunity protects government officials “from liability for civil

damages insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.”147 Qualified immunity is an “immunity

from suit rather than a mere defense to liability.”148 In this manner, “[o]ne of the most salient

benefits of qualified immunity is protection from pretrial discovery, which is costly, time-

consuming, and intrusive.”149 Once a defendant invokes the defense of qualified immunity, the

plaintiff carries the burden of demonstrating its inapplicability.150

       In Saucier v. Katz, the Supreme Court set forth a two-part framework for analyzing whether

a defendant was entitled to qualified immunity.151 Part one asks the following question: “Taken in

the light most favorable to the party asserting the injury, do the facts alleged show the officer’s

conduct violated a constitutional right?”152 Part two inquires whether the allegedly violated right

is “clearly established” in that “it would be clear to a reasonable officer that his conduct was

unlawful in the situation he confronted.”153 The Court does not have to address these two questions



       147
             Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).
       148
             Pearson v. Callahan, 555 U.S. 223, 237 (2009).
       149
             Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir. 2012).
       150
             Club Retro, L.L.C. v. Hilton, 568 F.3d 181, 194 (5th Cir. 2009).
       151
             Saucier, 533 U.S. 194 (2001).
       152
             Id. at 201.
       153
             Id. at 202.

                                                         30
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sequentially; it can proceed with either inquiry first.154

         Commencing with the second prong of the Saucier framework, the Court must determine

whether Plaintiff has alleged a violation of a clearly established constitutional right. When

deciding whether the right allegedly violated was “clearly established,” the Court asks whether the

law so clearly and unambiguously prohibited the conduct such that a reasonable official would

understand that what he was doing violated the law.155 “Answering in the affirmative requires the

court to be able to point to controlling authority—or a robust consensus of persuasive authority—

that defines the contours of the right in question with a high degree of particularity. This

requirement establishes a high bar.” 156 When there is no controlling authority specifically

prohibiting a defendant’s conduct, the law is not clearly established for the purposes of defeating

qualified immunity.157

         “If the defendant’s actions violated a clearly established constitutional right, the court then

asks whether qualified immunity is still appropriate because the defendant’s actions were

‘objectively reasonable’ in light of ‘law which was clearly established at the time of the disputed

action.’”158 “Law enforcement officers who reasonably but mistakenly commit a constitutional

violation are entitled to immunity.”159 “Whether an official’s conduct was objectively reasonable


         154
             See Pearson, 555 U.S. at 236 (“On reconsidering the procedure required in Saucier, we conclude that,
while the sequence set forth there is often appropriate, it should no longer be regarded as mandatory.”); see also Cutler
v. Stephen F. Austin State Univ., 767 F.3d 462, 469 (5th Cir. 2014).
         155
            May v. Strain, 55 F.Supp.3d 885, 897 (E.D. La. 2014) (Brown, J.) (citing Wyatt v. Fletcher, 718 F.3d 496,
503 (5th Cir. 2014)).
         156
               Id.
         157
               Id.
         158
               Brown v. Callahan, 623 F.3d 249, 253 (5th Cir. 2010) (citing Williams v. Bramer, 180 F.3d 699, 703 (5th
Cir. 1999)).
         159
               Williams, 180 F.3d at 703 (quoting Bazan ex rel. Bazan v. Hidalgo County, 246 F.3d 481, 490 (5th Cir.
                                                          31
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is a question of law for the court, not a matter of fact for the jury.”160

                     b.       Analysis

          Lawson and Vinson do not dispute that Plaintiff has alleged a violation of a constitutional

right, or that his constitutional right to free speech was clearly established at the time of the alleged

violation. Lawson and Vinson argue, rather, that the first prong of Plaintiff’s burden to overcome

Defendants’ assertion of qualified immunity is not met, in that no violation of Plaintiff’s

constitutional rights took place, and furthermore, that the second prong is not met because

Defendants’ conduct was not unreasonable in light of clearly established law. Plaintiff generally

alleges that Defendants’ discipline and constructive discharge of Plaintiff by the Gretna Police

Department, in retaliation for Plaintiff’s expression of protected speech regarding the alleged

illegal quota system, constitutes a violation of his clearly established First Amendment right to

free speech. Therefore, Plaintiff argues that neither Lawson nor Vinson is entitled to qualified

immunity because Plaintiff had a clearly established right to free speech, which they violated, and

their actions were not objectively reasonable.

          With respect to Lawson’s asserted qualified immunity defense, Plaintiff points to no

evidence that Lawson, Chief of the Gretna Police Department, was involved in Plaintiff’s

constructive discharge of employment. Moreover, Plaintiff does not point to any evidence showing

that Lawson failed to train or supervise the officers involved. Therefore, as no evidence in the

record suggests that Lawson violated Plaintiff’s First Amendment right to engage in protected

speech or to be free from retaliation for doing so, Lawson is entitled to qualified immunity with



2001)).
          160
                Brown, 623 F.3d at 253 (quoting Collins v. Ainsworth, 382 F.3d 529, 537 (5th Cir. 2004)).

                                                           32
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respect to Plaintiff’s First Amendment claim.

       However, Plaintiff asserts that Vinson was personally involved in the constructive

discharge of Plaintiff from the Gretna Police Department, constituting a violation of his First

Amendment Right to be free from retaliation for engaging in protected speech. Vinson does not

dispute that Plaintiff had a right to free speech regarding an alleged quota system. However,

Vinson asserts, that no quota system existed, Plaintiff resigned voluntarily, and he, in no other

way, suppressed Plaintiff’s speech. Vinson further argues that his conduct was objectively

reasonable in light of the clearly established law. Plaintiff, in turn, points to his own deposition

testimony, supported by the declarations of former Gretna police officers David Brian Heintz and

Paige Brittany Brouillette, as evidence that he was constructively discharged by Vinson for his

speech against the perceived quota system.

       Specifically, Plaintiff asserts that he felt compelled to resign after Vinson threatened to

pursue his termination at a meeting on February 2, 2015. Plaintiff points to his deposition

testimony, in which he states Vinson told Plaintiff that “he had a very serious problem with the

quote-un-quote poison that [Plaintiff] was spreading,” at the February 2, 2015 meeting.161 Plaintiff

also points to his own deposition testimony as evidence that Vinson threatened to request

termination of Plaintiff’s employment, and suggested that he would persist in pursuing Plaintiff’s

termination if initial attempts were unsuccessful.162 In Plaintiff’s deposition he states: “And by me

voicing my opinion and my concern for the legality of the issue, that that’s when he started

speaking about being requesting that I be fired and if he didn’t get it this time that he would get it


       161
             Rec. Doc. 47 at 3 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 100–01).
       162
             Id. at 4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105).

                                                          33
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in subsequent requests.”163

         As evidence that termination would adversely affect his ability to secure employment at

another police department, Plaintiff points to the declarations of former Gretna police officers

David Brian Heintz and Paige Brittany Brouillette, as well as his own deposition testimony.164

Former officer Heintz states in his declaration that “[f]or an officer, if they were terminated then

it would affect their ability to be hired with another police department. Disciplinary actions also

affect an officer’s ability to be hired with another police department.”165 Former officer Brouillette

states in her declaration that “[a] write up is particularly significant because is [sic] becomes a

permanent part of your personnel file and can adversely affect internal advancement in rank and

be used as evidence in future litigation.”166

         Consequently, Plaintiff asserts, and cites his own deposition testimony in support, that he

felt compelled to resign immediately because termination and, or, investigation would adversely

affect his future career opportunities, which he wished to avoid.167 During his deposition, Plaintiff

testified that he “felt [he had] no other choice but to submit my letter of resignation prior to the

captain’s ability to approach the chief or deputy chief with a recommendation of termination.”168


         163
               Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105
         164
            Id. at 4–5 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 123–24, 36; Rec. Doc. 35-1 (Declaration
of David Brian Heintz) at ¶ 6; Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶ 15).
         165
               Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 6.
         166
               Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶ 15.
         167
               Rec. Doc. 31-2 (Deposition of Daniel Swear) at 123–24, 36.
         168
               Rec. Doc. 31-2 (Deposition of Daniel Swear) at 123–24. Plaintiff stated:

         This resignation letter was hand delivered to Sergeant Christopher Tapie after the meeting where
         Captain Vinson, Captain Lloyd, Sergeant Tapie and Sergeant Saladino were present as a result of
         Captain Vinson harping on the poison that I was spreading that was me voicing my opinion against
         the illegal quota system. At that point in time, and in addition to that, my inability to have a meeting
                                                            34
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In addition, Plaintiff points to his own deposition testimony as evidence that Vinson gave Plaintiff

an ultimatum at a February 9, 2015 meeting: that Plaintiff could either resign immediately, or he

would be terminated and investigated for making defamatory statements against the Gretna Police

Department.169

       With respect to the circumstances of Plaintiff’s termination of employment, Vinson argues

that he never interfered with Plaintiff’s ability to speak out, 170 and, without pointing to any

evidence, argues that Plaintiff’s history of discipline was the reason that Plaintiff resigned.171

Vinson further argues that Plaintiff’s resignation was effective on February 2, 2015, and therefore,

Plaintiff’s perception of what occurred on February 9, 2015, is unnecessary and irrelevant, as it

was seven days after Plaintiff’s last day as a full-time member of the police force.172 Vinson asserts

that “as a matter of undisputed fact, no ‘intolerable conditions’ were present between February 2

and 9, 2015 as Plaintiff could not be fired after he resigned.”173

       However, during his deposition, Plaintiff stated that he “was still a member of the Gretna


       with the deputy chief. At that point in time, I felt no other choice but to submit my letter of
       resignation prior to the captain’s ability to approach the chief or deputy chief with a recommendation
       of termination.
       169
             Rec. Doc. 31-2 (Deposition of Daniel Swear) at 53–54. Plaintiff stated:

       On the February 9th meeting, I was called in and during this meeting it was Captain Vinson behind
       his desk, it occurred in his office, Captain Vinson behind his desk. I sat in the chair to the left and I
       believe lieutenant was his rank Jim Price sat in the chair to the 15 right of me. It was a closed door
       meeting. We sat down. It was tense from my perspective. I don't -- all he did was he slid a single
       piece of paper across the table with a sticky note on it and said I'm giving you the opportunity to
       resign before we initiate this investigation regarding you making defamatory statements to the
       Gretna Police Department.
       170
             Rec. Doc. 31-1 at 9.
       171
             Rec. Doc. 40 at 5.
       172
             Rec. Doc. 49 at 6 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105:23-25, 106:1-2).
       173
             Id.

                                                         35
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Police Department” after he gave his resignation on February 2, 2015, as he had given two-weeks’

notice and intended to work those two weeks.174 Plaintiff explained that he needed to work those

two weeks because he “needed [his] reserve commission to make sure [he] could have a gun for

the time being until [he] could get a commission somewhere else or file the paperwork to get a

concealed weapons permit.”175 According to Plaintiff’s deposition testimony, during the February

9, 2015 meeting, Vinson “slid a piece of paper across the table with a sticky note on it and said

I’m giving you the opportunity to resign before we initiate this investigation regarding you making

defamatory statements to the Gretna Police Department.”176 Therefore, Plaintiff asserts that he

was not allowed to work his last two weeks, and instead was forced to resign.

       In Brawner v. City of Richardson, a case decided by the Fifth Circuit, the plaintiff, a police

officer, alleged that he had been discharged for failing to answer questions during an internal

investigation, and that his termination constituted retaliation in violation of his First Amendment

right to free speech.177 The defendants in that case contended that they were entitled to qualified

immunity because the police officer was discharged for insubordination, not in retaliation for

exercising his First Amendment rights.178 The Fifth Circuit held that whether the plaintiff “was

discharged for making the statements or for insubordination is a genuinely disputed issue of

material fact,” and therefore affirmed the district court’s denial of summary judgment.179


       174
             Rec. Doc. 31-2 (Deposition of Daniel Swear) at 54.
       175
             Id. at 54–55.
       176
             Id. at 55.
       177
             Brawner v. City of Richardson, Tex., 855 F.2d 187, 189 (5th Cir. 1988)
       178
             Id.
       179
             Id.

                                                        36
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       Similarly, Vinson’s arguments regarding the reason Plaintiff’s employment at the Gretna

Police Department was terminated and the date of Plaintiff’s effective termination merely raise

disputed issues of fact, to the extent that Plaintiff has pointed to evidence disputing Vinson’s

account of the circumstances of Plaintiff’s termination and the effective date of termination. These

facts are material to whether Plaintiff was threatened with termination and investigation for

speaking out against the quota system while still employed, and whether those threats and the

consequent risk of adverse impact on future employment constitutes employment circumstances

so intolerable any reasonable person would have felt compelled to resign. Vinson’s argument that

he did not interfere with Plaintiff’s ability to speak out does not bear on Plaintiff’s argument that

he was terminated in retaliation for exercising free speech. Therefore, Vinson does not meet the

burden on summary judgment, which allows dismissal of a claim only when there are no material

facts in dispute, for this element of qualified immunity.

       Moreover, Vinson does not argue that the law is not clearly established that an employer

is prohibited from terminating an individual’s employment in retaliation for the individual’s

exercise of protected speech. Furthermore, the Fifth Circuit held in Cutler v. Stephen F. Austin that

the First Amendment retaliation standard was “clearly established law.”180 In Click v. Copeland,

the Fifth Circuit rejected a police officer’s qualified immunity defense because “a reasonable

officer should have known that if he retaliated against an employee for exercising his First

Amendment rights, he could not escape liability by engaging in other adverse employment

actions,” in that case demoting and transferring the employee, “rather than discharging him.”181


       180
             Cutler v. Stephen F. Austin, 767 F.3d 462 at 471 (5th Cir. 2014).
       181
             970 F.2d 106, 111 (5th Cir. 1992).

                                                         37
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In Brawner, the Fifth Circuit held in denying qualified immunity to defendant police officers that

“it was clearly established that a public employee’s speech revealing improper conduct by fellow

employees was protected.”182 In effect, the law was clearly established insofar as Vinson should

have had a “clear warning that terminating [Plaintiff] on the basis of his speech . . . would violate

[Plaintiff’s] First Amendment right.”183 Accordingly, the Court finds that Plaintiff had a clearly

established right to exercise his First Amendment right to speech free from retaliation.

         Finally, Defendants argue that Vinson is entitled to qualified immunity because his conduct

was objectively reasonable in light of clearly established law. In response, Plaintiff argues that

“speech regarding the existence of an unlawful quota system within the Gretna Police Department

was clearly of significant public concern, protected by the guarantees of the First Amendment.

Plaintiff further argues that a causal connection exists between the plaintiff’s speech and the
                                            184
constitutional violation alleged.”                Therefore, Plaintiff asserts, it would be objectively

unreasonable for a public official with authority to reprimand, demote and terminate or credibly

threaten to terminate a public employee in retaliation for speech of the type Plaintiff engaged in.185

         The Fifth Circuit has routinely held that an objectively reasonable public official would

have known that it was unconstitutional to retaliate against an employee for engaging in protected

speech. 186 In Brawner, the Fifth Circuit, in denying qualified immunity to defendant police


         182
               Brawner, 855 F.2d at 193.
         183
               Cutler, 767 F.3d at 473.
         184
               Rec. Doc. 35 at 20.
         185
               Id. at 20–21.
         186
             See, e.g., Thompson, 901 F.2d at 468-470 (holding that it was unreasonable for police officials to terminate
a police officer for filing written grievances related to the department's promotion policy and for making oral
complaints about police misbehavior); see also, e.g, Harris v. Victoria Indep. Sch. Dist., 336 F.3d 343, 344 (5th Cir.
1999) (holding that a reasonable school official would know it is unconstitutional to retaliate against teachers when
                                                          38
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officers, held that “a reasonably objective public official would have known that termination of an

employee for his speech concerning misconduct by public officials would violate a clearly

established constitutional right.”187 As Vinson does not specify how constructively discharging

Plaintiff in retaliation for his exercise of free speech would have been objectively reasonable in

light of clearly established law, the Court finds that Vinson’s conduct in constructively discharging

Plaintiff, if such conduct did occur, was not reasonable as a matter of law.

         In sum, whether Vinson constructively discharged Plaintiff in retaliation for Plaintiff’s

exercise of his free speech, prior to Plaintiff’s effective termination of employment is an issue of

material fact. A reasonable trier of fact could find that Vinson’s conduct violated Plaintiff’s clearly

established constitutional right to free speech. Moreover, Plaintiff “must ultimately prove that his

speech was the motivating factor in his [constructive] discharge.”188 Therefore, “the determination

of [these] issue[s] turn on a genuine dispute of material fact, and [are] proper issue[s] for trial, not

for resolution by summary judgment.”189

         2.          Whether a genuine issue of material fact exists precluding summary judgment

                     on Plaintiff’s Section 1983 First Amendment claim against Vinson in his

                     personal capacity?




they engage in protected speech.); see also, Frazier v. King, 873 F.2d 820, 827 (5th Cir. 1989) (holding that it was
objectively unreasonable for the warden of a state correctional center to fire a registered nurse in violation of her
clearly established right to report violations of nursing practices in the infirmary).
         187
               Brawner, 855 F.2d at 193
         188
               Id.
         189
             Id. The Fifth Circuit has stated that in “view[ing] the facts in [an] interlocutory appeal from the district
court's decision denying qualified immunity . . . we are required to accept the truth of the plaintiffs’ summary judgment
evidence, and we lack jurisdiction to review the genuineness of those factual disputes that precluded summary
judgment in the district court.” Kinney v. Weaver, 367 F.3d 337, 341 (5th Cir. 2004).

                                                          39
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                      a.      Legal Standard

          To succeed in a First Amendment retaliation claim pursuant to 42 U.S.C. § 1983, a public

employee must show: “(1) he suffered an adverse employment action; (2) he spoke as a citizen on

a matter of public concern; (3) his interest in the speech outweighs the government’s interest in

the efficient provision of public services; and (4) the speech precipitated the adverse employment

action.”190

            Employer actions that can result in liability include more than just actual or constructive

discharge from employment.191 “Adverse employment actions can include discharges, demotions,

refusals to hire, refusals to promote, and reprimands.”192 An employer’s activities may be deemed

to amount to a constructive discharge only if “the employer made conditions so intolerable that

the employee reasonably felt compelled to resign.”193 “[A] constructive discharge claim requires

a greater severity or pervasiveness of harassment than the minimum required to prove a hostile

work environment.”194

                      b.      Analysis

          Plaintiff claims that his First Amendment right to free speech was violated by Vinson when

he constructively discharged Plaintiff from employment at the Gretna Police Department for




          190
                Nixon v. City of Houston, 511 F.3d 494, 497 (5th Cir. 2007).
          191
                Sharp v. City of Houston, 164 F.3d 923, 933 (5th Cir. 1999).
          192
                Id.
          193
                Shawgo v. Spradlin, 701 F.2d 470, 481 (5th Cir. 1983); Kelleher v. Flawn, 761 F.2d 1079, 1086 (5th Cir.
1985).
          194
                Benningfield v. City of Houston, 157 F.3d 369, 378 (5th Cir. 1998) (internal citation and quotation marks
omitted).

                                                            40
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speaking out against the quota system. Vinson does not dispute that Plaintiff had a right to free

speech regarding an alleged quota system, but asserts that no quota system existed, that Plaintiff

resigned voluntarily, and that Plaintiff’s speech was in no other way suppressed. Plaintiff, in turn,

points to his own deposition testimony, supported by the declarations of former Gretna police

officers David Brian Heintz and Paige Brittany Brouillette, as evidence that he was constructively

discharged by Vinson for his speech against the perceived quota system.

         Plaintiff’s claim against Vinson in his personal capacity is “simply required to allege that

[Vinson] caused a rights deprivation while acting under the color of state law.”195 At the time of

Plaintiff’s alleged constructive discharge, Vinson was the Captain of the Patrol Division of the

Gretna Police Department. Vinson does not dispute that he held this title at all relevant times.

Therefore, the Court finds that Vinson was acting under the color of law, in his employment by

the Gretna Police Department, when the alleged constructive discharge took place.

         As noted above, a public employee must establish four elements to succeed in a First

Amendment retaliation claim pursuant to Section 1983.196 Therefore, the Court addresses each of

these elements in turn.

                             i.       Whether Plaintiff suffered an adverse employment action?

        Regarding the first element of a First Amendment retaliation claim, the Fifth Circuit has

recognized that “[a]dverse employment actions can include discharges, demotions . . . and




         195
            473 U.S. at 166; see St. Martin v. Jones, No. 08-1047, 2008 WL 4412267, at *6 (E.D. La. Sept. 17, 2008)
(applying Kentucky v. Graham in distinguishing claims brought against a sheriff in his official and personal capacity).
         196
               Nixon v. City of Houston, 511 F.3d 494, 497 (5th Cir. 2007).

                                                           41
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reprimands.”197 To prove a constructive discharge, a plaintiff must show that a “reasonable person

in [his] shoes felt compelled to resign.”198 “[A] constructive discharge claim requires a greater

severity or pervasiveness of harassment than the minimum required to prove a hostile work

environment.”199 In Benningfield v. City of Houston, the Fifth Circuit held that the plaintiff’s fear

of future retaliation was not sufficient to support her claim of constructive discharge.200

        In the instant case, Plaintiff points to his own deposition testimony as evidence that he was

demoted and reprimanded for speaking out against the quota system. Plaintiff further avers that on

February 2, 2015, he was called to a meeting with Vinson, who informed Plaintiff that his field

training officer position with the Gretna Police Department was terminated effective

immediately.201 Plaintiff states in his deposition, “[Vinson] then went on to discuss that he was

going to take my FTO, my FTO status away from me because I was spreading poison of an illegal

quota system and that he couldn’t risk having that spread to new people coming in. And that he

was going to write me up for insubordination and breaking the chain of commend [sic] in order to

try and have a meeting with Deputy Chief Christiana.” 202 Whether or not the demotions and

reprimands were issued because of Plaintiff’s speech about the quotas, and whether those actions

were of a “greater severity or pervasiveness of harassment” than that of a hostile work environment




        197
              Sharp, 164 F.3d at 933.
        198
              Benningfield v. City of Houston, 157 F.3d 369, 378 (5th Cir. 1998) (internal citation and quotation marks
omitted).
        199
              Id.
        200
              Id.

        201
              Rec. Doc. 47 at 3 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 54, 98, 99, 101, 105, 135–36).
        202
              Rec. Doc. 31-2 (Deposition of Daniel Swear) at 98.

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is a question of material fact.203

          For a resignation to constitute constructive discharge, an employer’s actions must make

conditions so intolerable that the reasonable employee would feel compelled to resign.204 Plaintiff

asserts that he felt compelled to resign after Vinson threatened to pursue his termination at a

meeting on February 2, 2015. In support, Plaintiff points to his deposition testimony that Vinson

told Plaintiff that “he had a very serious problem with the quote-unquote poison that [Plaintiff]

was spreading,” at the February 2, 2015 meeting.205 Plaintiff also points to his own deposition

testimony as evidence that Vinson threatened to request termination of Plaintiff’s employment,

and suggested that he would persist in pursuing Plaintiff’s termination if initial attempts were

unsuccessful. 206 In Plaintiff’s deposition he states: “And by me voicing my opinion and my

concern for the legality of the issue, that that’s when he started speaking about being requesting

that I be fired and if he didn't get it this time that he would get it in subsequent requests.”207

          As evidence that termination would adversely affect his ability to secure employment at

another police department, Plaintiff points to the declarations of former Gretna police officers

David Brian Heintz and Paige Brittany Brouillette, as well as his own deposition testimony.208

Former officer Heintz states in his declaration that “[f]or an officer, if they were terminated then



          203
                Id.
          204
                Shawgo v. Spradlin, 701 F.2d 470, 481 (5th Cir. 1983); Kelleher v. Flawn, 761 F.2d 1079, 1086 (5th Cir.
1985).
          205
                Rec. Doc. 47 at 3 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 100–01).
          206
                Id. at 4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105).
          207
                Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105
          208
            Id. at 4–5 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 123–24, 36; Rec. Doc. 35-1 (Declaration
of David Brian Heintz) at ¶ 6; Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶ 15).

                                                             43
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it would affect their ability to be hired with another police department. Disciplinary actions also

affect an officer’s ability to be hired with another police department.”209 Former officer Brouillette

states in her declaration that “[a] write up is particularly significant because is [sic] becomes a

permanent part of your personnel file and can adversely affect internal advancement in rank and

be used as evidence in future litigation.”210

       Consequently, Plaintiff asserts, and cites his own deposition testimony in support, that he

felt compelled to resign immediately because termination and, or, investigation would adversely

affect his future career opportunities, which he wished to avoid.211 During his deposition, Plaintiff

testified that he “felt [he had] no other choice but to submit my letter of resignation prior to the

captain’s ability to approach the chief or deputy chief with a recommendation of termination.”212

In addition, Plaintiff points to his own deposition testimony as evidence that Vinson gave Plaintiff

an ultimatum at a February 9, 2015 meeting: that Plaintiff could either resign immediately, or he

would be terminated and investigated for making defamatory statements against the Gretna Police

Department.213

       Whether interference with future employment opportunities constitutes conditions so

intolerable that a reasonable employee would feel compelled to resign requires a factual

determination. 214 Defendants argue that Plaintiff’s employment terminated due to poor job



       209
             Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 6.
       210
             Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶ 15.
       211
             Rec. Doc. 31-2 (Deposition of Daniel Swear) at 123–24, 36.
       212
             Id. at 123–24.
       213
             Id. at 53–54.
       214
             Kelleher, 761 F.2d at 1086 (“It is unclear whether the question is one of fact or a mixed question of fact
                                                          44
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performance, rather than in retaliation for his exercise of free speech. However, the evidence of

discipline and constructive termination which Plaintiff puts forth raises a disputed issue of material

fact as to the cause of the termination of his employment, such that a reasonable trier of fact could

find that Plaintiff was constructively discharged and thereby subjected to an adverse termination

action.

                              ii.     Whether Plaintiff spoke as a citizen on a matter of public concern?

          Regarding the second element, “[t]he courts will not interfere with personnel decisions

when a public employee speaks not as a citizen upon matters of public concern, but instead as an

employee upon matters only of personal interest.”215 Matters of public concern are those which

can “be fairly considered as relating to any matter of political, social, or other concern to the

community.”216 Specifically, speech “complaining of misconduct within the police department is

speech addressing a matter of public concern.”217

          Plaintiff claims that he spoke as a citizen on a matter of public concern in speaking out

against the quota system. According to Plaintiff’s deposition testimony, his speech pertained to

the unlawfulness and illegality of the alleged quota system implemented and enforced by the

Gretna Police Department. 218 In addition, Plaintiff points to evidence that his license plate

displayed Louisiana Revised Statute 40:2401.1, a state statute pertaining to all peoples of


and law.”).
          215
                Wallace, 80 F.3d at 1050.
          216
                Branton, 272 F.3d at 730.
        217
            Thompson v. City of Starkville, Miss., 901 F.2d 456, 463 (5th Cir. 1990); Wallace v. Tex. Tech. Univ., 80
F.3d 1042, 1051 (5th Cir. 1992)). Brawner, 855 F.2d at 192.
          218
            Rec. Doc. 35-9 at ¶ 24 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 104; Rec. Doc. 35-4
(Declaration of Daniel Swear)).

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Louisiana.219 Former Gretna police officer Brouillette also stated in her declaration, “I saw the

license plate, that had the Louisiana Revised Statute regarding the illegality of quotas for law

enforcement officers, on Daniel Swear’s personal vehicle while he was still working at the Gretna

Police Department. 220 Plaintiff stated in his deposition, “I went as far as I had a license, an

assembly line license plate made on my personal car with the statute that prohibited quotas in

Louisiana.”221 Defendants do not argue that the type of speech Plaintiff engaged in is not of public

concern. Thus, Plaintiff has put forth sufficient evidence to permit a reasonable trier of fact to find

that Plaintiff spoke on a matter of public concern when he spoke out against the alleged quota

system implemented by the Gretna Police Department.

        Regarding whether Plaintiff spoke “primarily in his role as citizen or primarily in his role

as employee,”222 Plaintiff points to evidence that he spoke “widely and persistently to anyone who

would listen” regarding the alleged quota policy of the Gretna Police Department. 223 Plaintiff

stated in his deposition, “I mean I was so openly troubled by that that I told anyone and everyone

that I could.”224 Plaintiff also states in his deposition that he displayed a license place on which

Louisiana Revised Statute 40:2401.1 was printed, which was viewable by the public wherever his

car was driving or situated.225 Moreover, Plaintiff points to evidence that he spoke out against the


         219
             Rec. Doc. 31-2 (Deposition of Daniel Swear) at 50, 101–02; 135; Rec. Doc. 35-3 (Declaration of Paige
Brittany Brouillette) at ¶ 18.
        220
              Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶ 18.
        221
              Rec. Doc. 31-2 (Deposition of Daniel Swear) at 50.
        222
              Wallace, 80 F.3d at 1050.
        223
              Rec. Doc. 35 at 9 (citing Rec. Doc. 35-9 at ¶¶ 24–28).
        224
              Rec. Doc. 31-2 (Deposition of Daniel Swear) at 50.
        225
              Id.

                                                           46
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alleged quota system of the Gretna Police Department both within his employment and outside of

his employment. Specifically, during his deposition, Plaintiff testified that he spoke non-

exclusively to his immediate supervisors, Sergeants Rodriguez and Heintz, fellow officers, his

father, grandmother, the FBI, the harbor patrol, a television investigative reporter, two FBI agents,

and the Louisiana Office of the Attorney General.226 Defendants do not argue that Plaintiff was

not speaking as a citizen when he spoke out against the quota system. Accordingly, Plaintiff has

put forth sufficient evidence to permit a reasonable trier of fact to find that Plaintiff spoke as a

citizen regarding a matter of public concern, when he spoke out against the quota system to

individuals well beyond the scope of his employment.

                           iii.      Whether Plaintiff’s interest in the speech outweighs the

                                     government’s interest in the efficient provision of public services?

       Regarding the third element, the Fifth Circuit has held that it must “balance the employee’s

interest, as a citizen, in commenting upon matters of public concern against ‘the interest of the

State, as an employer, in promoting the efficiency of the public services it performs through its

employees.’”227 This inquiry “involves whether the speech: (1) was likely to generate controversy

and disruption, (2) impeded the department’s general performance and operation, and (3) affected

working relationships necessary to the department's proper functioning.” 228 In Brawner, the

defendants argued that the police department’s interest in conducting thorough investigations

outweighed the Plaintiff’s interest in expressing dissatisfaction with his treatment during such an



       226
             Id. at 11 (citing Rec. Doc. 31-2 at 44–47).
       227
             Branton, 272 F.3d at 739 (quoting Rankin, 483 U.S. at 388; Pickering, 391 U.S. at 568).
       228
             Brawner, 855 F.2d at 192.

                                                           47
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investigation. 229 The Fifth Circuit rejected this argument, holding that “if the allegations of

internal misconduct are indeed true, [the plaintiff’s] statements could not have adversely affected

the proper functioning of the department since the statements were made for the very reason that

the department was not functioning properly due to corruption.230

       Similarly, Plaintiff argues that implementing a quota system was a violation of Louisiana

statutory law, and “the effective and efficient operation and functioning of any governmental

agency cannot be based upon a violation of law and the rights of the very citizens to whom and for

whom they are charged with providing services.”231 Defendant does not put forth any argument

that Plaintiff’s interest in commenting on the quota system, if found to be a matter of public

concern, is outweighed by the government’s interest in the efficient provision of public services.

Given that Plaintiff has a legitimate interest in commenting upon the quota system, and no

government interest in promoting efficiency or functionality has been identified that would suffer

from Plaintiff’s speech, the balancing of interests weighs in favor of Plaintiff’s free speech.

                          iv.         Whether the speech precipitated the adverse employment action?

       Regarding the fourth and final element, Plaintiff asserts that his speech regarding the quota

system precipitated the adverse employment actions of discipline and constructive termination. In

support, Plaintiff provides evidence that Vinson told Plaintiff that “he had a very serious problem

with the quote-unquote poison that [Plaintiff] was spreading,” at the February 2, 2015 meeting, at




       229
             Id.
       230
             Id.
       231
             Rec. Doc. 35 at 12–13.

                                                      48
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which he was demoted. 232 Plaintiff also provides evidence that at the same meeting, Vinson

threatened to request termination of Plaintiff’s employment, and suggested that he would persist

in pursuing Plaintiff’s termination if initial attempts were unsuccessful.233 According to Plaintiff’s

deposition testimony, “[t]here was a heavy emphasis on [Plaintiff] spreading poison of this quota

system. That was the focus of [the meeting].”234 Plaintiff also stated in his deposition, “voicing

my opinion and my concern for the legality of the issue, that that's when [Vinson] started speaking

about [] requesting that I be fired and if he didn't get it this time that he would get it in subsequent

requests.”235 Last, Plaintiff asserts that Vinson told Plaintiff at a February 9, 2015 meeting that

Plaintiff could either resign immediately, or he would be terminated and investigated for making

defamatory statements against the Gretna Police Department.236

        Vinson argues that termination of Plaintiff’s employment was not precipitated by any

adverse employment action, but that Plaintiff voluntarily resigned and had a history of discipline.

However, given the evidence Plaintiff has put forth of incidents of reprimand or threatened

termination that occurred while or soon after Plaintiff was criticized by Gretna Police Department

personnel for his speech about the quotas, a reasonable trier of fact could find that Plaintiff’s

speech regarding the quotas precipitated the adverse employment actions of discipline and

constructive termination.

        Thus, Plaintiff has put forth evidence that raises unresolved issues of material fact with

        232
              Rec. Doc. 47 at 3 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 100–01).
        233
              Id. at 4.
        234
              Id. at 3–4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105).
        235
              Id. at 4–5 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105).
        236
              Id. at 5–6 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 53–54).

                                                          49
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respect to all four elements required to satisfy a Section 1983 First Amendment retaliation claim.

Accordingly, Plaintiff’s First Amendment claim against Vinson in his personal capacity may not

be dismissed upon Defendants’ summary judgment motion, as there is no dispute that Vinson’s

actions were taken under color of the law, and there exists issues of material fact as to whether

Vinson violated Plaintiff’s constitutional rights.

        3.         Whether Lawson and Vinson are entitled to summary judgment on Plaintiff’s

                   Section 1983 claims against them in their official capacities?

                   a.       Legal Standard

        In Kentucky v. Graham, the Supreme Court held that an official capacity suit is “only

another way of pleading an action against an entity of which an officer is an agent” and is to be

treated as a suit against the entity.237 The Fifth Circuit has enforced an identical rule and barred

claims brought in a single action against official capacity individuals and against the entity of

which they are members. In Sims v. Jefferson Downs Racing Association, Inc., the Fifth Circuit

held that, due to the nature of official capacity suits, a judgment against a corporation and its officer

would “effectively make the corporation liable twice for the same act.”238 Moreover, a judgment

against an individual acting in an official capacity and against the entity that employs him on the

same claim is equivalent to a judgment against the entity twice over, and is therefore barred by

virtue of subjecting a defendant-entity to “duplicative” or “redundant” liability. 239 However,




        237
              473 U.S. 159, 165 (1985).
        238
              778 F.2d 1068, 1081 (5th Cir. 1985).
        239
           See Indest v. Freeman Decorating, Inc., 164 F.3d 258, 262 (5th Cir. 1999); see also Castro Romero v.
Becken, 256 F.3d 349, 355 (5th Cir. 2001).

                                                      50
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separate claims brought against an official and his entity in the same action are permitted and

governed by the general rules of pleading.240

                      b.      Analysis

          To the extent Plaintiff asserts Section 1983 claims against Defendants Vinson and Lawson

in their official capacities, those claims appear to mirror the Section 1983 claim against the City

of Gretna—that Plaintiff’s constitutional right to free speech was violated by the Gretna Police

Department’s discipline and constructive discharge of Plaintiff for speaking out against the quota

system, pursuant to the Department’s policy of implementing a quota system. As previously stated,

the Fifth Circuit has held that such actions are barred by virtue of subjecting a defendant-entity to

“duplicative” or “redundant” liability. 241 Accordingly, Plaintiff was required to clarify in his

pleadings if he is in fact asserting different claims against Vinson and Lawson in their official

capacities and the City of Gretna, otherwise, the Court must dismiss one of the duplicative claims

or sets of claims. As Plaintiff has not clarified any difference in claims, the Court will dismiss the

Section 1983 claims against Defendants Vinson and Lawson in their official capacities, and

proceed with analysis of Plaintiff’s Section 1983 First Amendment claim against the City of

Gretna.

          4.          Whether the City of Gretna is entitled to summary judgment on Plaintiff’s

                      Section 1983 claims against it?

                      a.      Legal Standard




          240
                Id.
          241
                Indest, 164 F.3d at 262; Romero, 256 F.3d at 355.

                                                           51
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        With respect to a Section 1983 claim against an entity, the Supreme Court held in Monell

v. Department of Social Services of City of New York, “when execution of a government's policy

or custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said to

represent official policy, inflicts the injury [] the government as an entity is responsible under

§ 1983.”242 Moreover, “[a] § 1983 plaintiff [] may be able to recover from a municipality without

adducing evidence of an affirmative decision by policymakers if able to prove that the challenged

action was pursuant to a state ‘custom or usage.’”243 In order to establish a Section 1983 claim

against a municipality, the official policy must be the cause and moving force of the constitutional

violation.244 Finally, the “policymaker must have either actual or constructive knowledge of the

alleged policy.”245

                   b.       Analysis

        Plaintiff argues that Defendant City of Gretna violated a constitutional law by having a

policy of implementing a quota system, which was the moving force in the retaliatory termination

of Plaintiff from the Gretna Police Department for exercising his First Amendment right to free

speech against the quota system.

        Plaintiff’s Section 1983 First Amendment retaliation claim against the City of Gretna relies

on the same facts asserted in support of Plaintiff’s Section 1983 First Amendment retaliation claim

against Vinson in his personal capacity, with the addition of facts involving the conduct of other



        242
              436 U.S. 658, 694 (1978).
        243
              Pembaur v. City of Cincinnati, 475 U.S. 469, 484 (1986).
        244
              Monell, 436 U.S. at 694.
        245
            Cox v. City of Dallas, 430 F.3d 734, 748–49 (5th Cir. 2005) (citing Piotrowski v. City of Houston, 237
F.3d 567, 579 (5th Cir. 2001)).

                                                         52
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Gretna Police Department employees. Specifically, in addition, Plaintiff points to evidence that he

received a formal disciplinary reprimand from his immediate supervisor Sergeant Danielle

Rodriguez for failing to meet the mandated quota of the Gretna Police Department Patrol Division

for the month of December 2014;246 and Plaintiff was contacted by the head of the Gretna Police

Department Internal Affair Bureau and directed to remove a license plate from his personal vehicle

which displayed Louisiana Revised Statute 40:2401.1. 247 As evidence of the former, Plaintiff

points to Exhibit B of his deposition, which is the memorandum from Sgt. Danielle Rodriguez to

Vinson memorializing the oral reprimand. 248 As evidence of the latter, Plaintiff stated in his

deposition, that on a phone call with Lieutenant DeMarco, “he advised me that someone above the

rank of captain told him to inform me that if I don’t remove the license plate from my personal --

if I wanted to remain a member of the Gretna Police Department that I needed to remove that

license plate from the front of my personal car.”249

        The Court has already determined that Plaintiff has identified issues of material fact with

respect to the Section 1983 First Amendment retaliation claim against Vinson in his personal

capacity, such that Defendants’ motion for summary judgment cannot be granted with respect to

Plaintiff’s claim against Vinson. These issues of material fact equally apply to Plaintiff’s claim

against the City of Gretna, which involves the conduct of Vinson, among others. Moreover, the

evidence of alleged facts stated above relevant to Plaintiff’s claim against the City of Gretna, only



         246
             Rec. Doc. 47 at 2 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 178; Rec. Doc. 35-9 (Statement
of Facts) at ¶ 29).
        247
              Id. at 6–7.
        248
              Rec. Doc. 31-2 (Deposition of Daniel Swear) at 193.
        249
              Rec. Doc. 31-2 (Deposition of Daniel Swear) at 102.

                                                         53
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bolster issues of material fact as to the cause of Plaintiff’s termination of employment already

found to exist. Thus, Plaintiff has sufficiently identified issues of material fact with respect to the

Section 1983 First Amendment retaliation claim against the City of Gretna not appropriate for

determination at the summary judgment stage.

        Still, when a Section 1983 claim is brought against a municipality, Plaintiff must

demonstrate that the “challenged action was pursuant to a state ‘custom or usage.’” 250

Furthermore, in order to establish a Section 1983 claim against a municipality, the official policy

must be the cause and moving force of the constitutional violation,251 and the policymaker must

have either actual or constructive knowledge of the alleged policy.252

        Plaintiff asserts that the Gretna Police Department implemented a policy requiring officers

to comply with a quota system of performance. Plaintiff puts forth evidence that a required quota

of “10-2-2” was utilized within the Gretna Police Department since at least 2007 and required

patrol officers to have at least 10 items, 2 citations, and 2 arrests per shift, which had to equal the

required total by the end of the month.253 In his deposition, Plaintiff stated, “The first time that I

was aware of a quota policy was when we were given the term 10-2-2 while working patrol. And

that corresponded to the goal of ten items per might, two arrests per night and two citations per




        250
              Pembaur v. City of Cincinnati, 475 U.S. 469, 484 (1986).
        251
              436 U.S. 658, 694 (1978).
        252
            Cox v. City of Dallas, 430 F.3d 734, 748–49 (5th Cir. 2005) (citing Piotrowski v. City of Houston, 237
F.3d 567, 579 (5th Cir. 2001)).
        253
            Rec. Doc. 35-9 at 1 (citing Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 17; Rec. Doc. 31-2
(Deposition of Daniel Swear) at 17; Rec. Doc. 35-4 (Declaration of Daniel Wayde Swear) at 40); Rec. Doc. 35-3
(Declaration of Paige Brittany Brouillette) at ¶ 8).

                                                         54
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night.”254 Former Gretna police officer Heintz stated in his declaration that police officers “were

required to meet a standard quota of 10-2-2.”255 Heintz explained that “[t]he 10-2-2 quota meant,

that patrol officers were required to have 10 items, 2 citations and 2 arrests per shift, which had to

equal to the required total by the end of the month.”256 Former Gretna police officer Brouillette

also stated in her declaration, “I was personally made aware that 10 attachments, 2 citations and 2

arrests were the minimum requirements for every shift.”257

         As further evidence that a quota system existed, Plaintiff points to former officer Heintz’s

declaration indicating that he was written up twice in 2007 for failing to meet the required quota

at that time of two citations per shift. 258 In addition, Plaintiff points to evidence that a shift

supervisor was required to keep statistics of subordinate officers which would be given to Captain

Scott Vinson.259 Specifically, former officer Heintz stated the following in his declaration: “As a

shift supervisor was [sic] required to keep statics [sic] of subordinate officers. I would give the

statics [sic] to Lieutenant Scott Vinson. Curtis Snow would compile the statistics at the end of the




         254
               Rec. Doc. 31-2 (Deposition of Daniel Swear) at 17.
         255
               Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 17.
         256
               Id.
         257
               Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶ 8.

        258
            Rec. Doc. 35-9 at 1 (citing Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 11-13). Former officer
Heintz made the following statements in his declaration:

          In 2007, I went to the day shift in which Jarvis Jackson was Lieutenant. At that time, I was required to have
2 citations per shifts [sic]. I was written up in October of 2007 for “unsatisfactory performance” for failing to meet
the required 2 citations per shift. I was again written up in November of 2007 for “unsatisfactory performance” for
failing to meet the required 2 citations per shift. I took the write up to Marty Schmidt with Internal Affairs Division.
I was advised by Mr. Schmidt that the write up would not go into my personnel file.
         259
            Rec. Doc. 35-9 at 2 (citing Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶19; Rec. Doc. 35-2
(Declaration of Paul Pichoff) at 9–11).

                                                            55
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month.”260

        Furthermore, Plaintiff points to evidence that if the required quota was not met, an officer

could be written up, suspended, and/or ultimately terminated; and if supervising officers did not

enforce the Gretna Police Department’s policy, practice, and custom of institutionalized quotas,

they would also be subject to discipline.261 Former officer Heintz stated in his declaration, “Scott

Vinson told me that we as supervisors would be held accountable if the numbers slipped. To my

knowledge after that meeting, more officers began to get written up for failing to meet the 10-2-2

quotas.”262 Former officer Brouillette stated in her declaration, “I was advised by my immediate

supervisor, Daniel [sic] Rodriguez, that if I did not pick my numbers up I would be written up. If

I was written up I could be also suspended and ultimately fired.” 263 In his own deposition

testimony, Plaintiff stated, “[Vinson] advised the supervisors in the presence of the officers that

worked for them that if the supervisors did not enforce this [mandatory quota policy] that he would

take action against them.”264 When asked whether Vinson described what action he would take

against the supervisors, Plaintiff responded, “Not against the supervisors. Just the action against

the officers which would be being written up and/or suspended and ultimately terminated.” 265

Plaintiff also points to an audio transcript between former Gretna police officer Paul Pichoff and



        260
              Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 19.
        261
            Rec. Doc. 35-9 at 2 (citing Rec. Doc. 35-2 (Declaration of Paul Pichoff); Rec. Doc. 35-3 (Declaration of
Paige Brittany Brouillette) at ¶ 7; Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 26; Rec. Doc. 31-2
(Deposition of Daniel Swear) at 20-21, 34; Rec. Doc. 35-4 (Declaration of Daniel Wayde Swear) at 4, 5, 49).
        262
              Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 26.
        263
              Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶ 7.
        264
              Rec. Doc. 31-2 (Deposition of Daniel Swear) at 34.
        265
              Id.

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his supervisors, Sergeant Philip Saladino and Lieutenant J.R. Rogers, memorializing Pichoff’s

performance evaluation which took place on January 7, 2014, in which Pichoff and his supervisors

discuss Pichoff’s failure to make enough arrests or citations and Lieutenant Rogers threatens to

terminate Pichoff if his performance did not improve.266

         Finally, Plaintiff points to evidence that a quota existed in 2014 requiring issuance of three

citations a day and an average of one arrest every two days.267 According to Plaintiff’s deposition

testimony, Sergeant Rodriguez would hand out highlighted statistics during roll call on a weekly

basis, which showed how many citations and arrests an officer had made to show officers in what

sections they were lacking and needed to improve before the end of the month.268 As previously

discussed, Plaintiff also points to his deposition testimony as evidence that he was orally

reprimanded by Sergeant Rodriguez for failing to meet the mandated quota for the month of

December 2014. 269 Specifically, Plaintiff points to Exhibit B of his deposition, which is the

memorandum from Sgt. Danielle Rodriguez to Vinson memorializing the oral reprimand. 270

Plaintiff further points to evidence that following the December 17 and/or 19, 2014 meeting with

Captain Vinson, former officer Brouillette was also written up for failing to meet Gretna Police

Department’s policy, practice, and custom of institutionalized quotas.271


         266
               Rec. Doc. 35-2 (Declaration of Paul Pichoff).
        267
            Rec. Doc. 35-9 at 4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 21, 28-29, 111-112; Rec. Doc.
35-3 (Declaration of Paige Brittany Brouillette) at ¶¶ 7, 11; Rec. Doc. 35-4 (Declaration of Daniel Swear) at 4, 5, 49).
         268
               Id. at 5 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 29–30).
         269
               Id. at 6 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 193).
         270
               Rec. Doc. 31-2 (Deposition of Daniel Swear) at 193.
         271
             Rec. Doc. 35-9 at 8 (citing Rec. Doc. 35-3, Declaration of Paige Brittany Brouillette at ¶14 and Exhibit
1). In her declaration, former officer Brouillette states the following and attached an image of the write-up as Exhibit
1:

                                                            57
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        Finally, Plaintiff points to the declarations of former officer Brouillette and former officer

Heintz as evidence that Vinson had a dry erase board in his office which listed the names of the

patrol division and tracked their compliance with the mandatory quota policy.272

        Defendants argue that Plaintiff only puts forth evidence of police officers’ understanding

that a quota system existed, rather than any actual evidence that a quota system existed. However,

a police officer’s understanding that a quota system existed, though perhaps not dispositive, is

“highly relevant to the existence of a custom” within the Gretna Police Department of

implementing a quota system. 273 Defendants additionally argue that Plaintiff points to three

variations of a quota system, and therefore, an established mandatory quota policy or custom

cannot have existed. However, Defendants’ argument misses the mark. Plaintiff need only put

forth evidence that the Gretna Police Department had an established policy or custom of


        I was in fact written up on January 13, 2015, for unsatisfactory performance for not meeting the
        quota . . . I was advised that if I continued to not meet the designated numbers, I would have my
        position as crime scene tech taken away and I would be moved to day shift which they knew would
        adversely affect my pay and my home life because my husband worked for EMS day shift and I
        worked night shift which allowed one of us to always be home with our children.
         272
             Rec. Doc. 35-9 at 8 (citing Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶20; Rec. Doc.
35-2 (Declaration of Paul Pichoff); Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 33, Exs. 1, 2). Former
officer Brouillette states the following in her declaration:

        Captain Scott Vinson had a dry erase board in his office which list the names of the patrol division
        officers like the image attached hereto as Exhibit 2. Captain Scott Vinson explained to me that the
        symbols on the dry erase board corresponding to the officers name also on the board was a rating
        system to identify officers not meeting the mandatory quota policy of the Gretna Police Department.
        Red symbols signified non-compliance by the officer with the quota criteria. Green symbols
        signified compliance with the quota policy.

        Former officer Heintz states the following his declaration:

        This dry erase board was used by Scott Vinson to keep track of the officer stats. It was apparent that
        the red checks on the dry erase board meant that officer failed to meet the quota requirement. If the
        officer did meet the quota requirement there would be a green star or check next to the officer’s
        name.

          See Bishop v. Arcuri, 674 F.3d 456, 468 (5th Cir. 2012) (holding that “the [employee’s] understanding of
        273

common operating procedure is highly relevant to the existence of a custom.”)

                                                         58
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implementing quota systems pursuant to which the challenged activity took place. In other words,

Plaintiff is entitled to argue that the challenged activity—that Plaintiff was constructively

discharged by the Gretna Police Department for exercising his First Amendment right to free

speech—was pursuant to the Department’s policy of implementing quotas, in that because of that

policy, Plaintiff was required to comply with one of any unlawful quota systems and was

constructively discharged for speaking out against it. Moreover, a quota system in any form would

have been in violation of state law and cause for Plaintiff to speak out, triggering retaliation. Thus,

Plaintiff has at least raised a question of material fact as to whether a policy or custom of

implementing quota systems by the Gretna Police Department exists.

       As previously stated, in order for Plaintiff to establish a Section 1983 claim against the

City of Gretna, the custom or policy of implementing a quota system must be the cause and moving

force of the constitutional violation.274 Plaintiff argues that the City of Gretna violated his First

Amendment right to free speech by disciplining and constructively discharging him in retaliation

for speaking out against the quota system’s violation of Louisiana state law, and that the policy of

implementing a quota system was the moving force of that constitutional violation. In response,

Defendants assert that no quota system existed, Plaintiff resigned voluntarily, and Plaintiff’s

speech was in no other way suppressed.

       The Court has already stated that a reasonable trier of fact could find that Plaintiff’s speech

regarding the quota system precipitated the alleged adverse employment actions. In support of

establishing that the policy of implementing quotas was the moving force of the constitutional

violation involving those adverse employment actions, Plaintiff puts forth the evidence already


       274
             See Monell, 436 U.S. 658, 694 (1978).

                                                     59
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discussed that he was disciplined for refusing to comply with the quota system and for speaking

out against the quota system. In effect, a reasonable trier of fact could find that the animus of the

constitutional violation was the existence of a policy of implementing quota systems. In other

words, Plaintiff would not have had anything to speak out against if the policy did not exist, and

Defendants would not have had any motivation to unconstitutionally discipline or constructively

discharge Plaintiff if Defendants were not in violation of the Louisiana state law prohibiting

quotas. Thus, Plaintiff has provided sufficient evidence to raise a question of material fact as to

whether the policy of implementing quotas, to the extent one existed, was the moving force of the

constitutional violation.

        Last, Plaintiff must put forth evidence that the policymaker had actual or constructive

knowledge of the alleged policy of implementing quota systems.275 “Constructive knowledge may

be attributed to the governing body on the ground that it would have known of the violations if it

had properly exercised its responsibilities, as, for example, where the violations were so persistent

and widespread that they were the subject of prolonged public discussion or of a high degree of

publicity.”276

        Defendants acknowledge that Chief Lawson is the policymaker of the Gretna Police

Department. 277 Plaintiff argues and points to evidence that the “institutionalized and systemic

illegal quota system of the Gretna Police Department has been so longstanding and widespread

that is [sic] de facto the very custom, policy, practice and usage having the force and effect of law


        275
            Cox v. City of Dallas, 430 F.3d 734, 748–49 (5th Cir. 2005) (citing Piotrowski v. City of Houston, 237
F.3d 567, 579 (5th Cir. 2001)).
        276
              Pineda v. City of Houston, 291 F.3d 325, 330 (5th Cir. 2002).

        277
              Rec. Doc. 31-1 at 17.

                                                         60
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for the police department,” including that the policy dates back to 2007.278 Specifically, Plaintiff

points to the declarations of former officer Heintz and former officer Brouilette as evidence that

Chief Lawson issued a directive to subsidize the loss of revenue from the RedFlex camera system,

presumably by implementing a quota system.279 During his deposition, Plaintiff also testified that

Vinson informed him that Chief Lawson “the patrol division used $1 million from the money

generated by the RedFlex camera cars . . . . So his goal then or his task was to make the patrol

division financially independent of RedFlex. That conversation led into my sergeant, Danielle

Rodriguez, telling us that we were going to issue three citations a day and make an average of one

arrest every two days worked.”280 As previously discussed, Plaintiff also points to evidence that a

dry erase board displaying a method used by Vinson to track the quota system was in plain view

and visible to all people walking by his office, including Chief Arthur Lawson.281



          278
                Rec. Doc. 35 at 18; Rec. Doc. 35-9 at 1 (citing Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶¶
11-13).
          279
            Rec. Doc. 35-9 at 4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 21; Rec. Doc. 35-3,
(Declaration of Paige Brittany Brouillette) at ¶ 11; Rec. Doc. 35-1(Declaration of David Brian Heintz) at ¶ 23). In
former officer Heintz’s declaration, he states:

         I was present in a meeting in December of 2014, after we had the supervisors meeting when Scott Vinson
personally addressed the C team. At the meeting we were told that we needed to subsidize the possible loss of the
revenue from the RedFlex Cameras.

          Former officer Brouillette likewise states the following in her declaration:

         At this December 2014 role [sic] call, Captain Scott Vinson addressed the team stating that we needed to
bring more numbers and thus revenue because we were at risk of losing the revenue from the Redflex Camera system.
He stated that the police department got $1 millions from the RedFlex Camera system which went to our retirement.
Scott Vinson advised us that this directive came directly from the Chief. While Scott Vinson was present Sergeant
Heintz told us that we needed to increase productivity by 10%. Sergeant Rodriguez reasserted that we needed to meet
exact numbers, which were the quota. We were advised by Captain Scott Vinson that if we did not meet these numbers
we would be subject to discipline and could be terminated.
          280
                Rec. Doc. 35-9 at 4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 21.
          281
            Rec. Doc. 35-9 at 8 (citing Rec. Doc. 35-3 (Declaration of Paige Brittany Brouillette) at ¶20; Rec. Doc.
35-2 (Declaration of Paul Pichoff); Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 33, Exs. 1, 2).

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          Furthermore, ensuring compliance with state laws arguably falls within the proper exercise

of the Chief of Police’s responsibilities. If Chief Lawson had exercised that responsibility, then no

quota system could have existed, and no basis for the constitutional violation of retaliation for

Plaintiff’s speech about a quota system would exist. Accordingly, questions of material fact exist

as to whether the policy was so persistent and widespread that Chief Lawson had constructive

knowledge, and as to whether ensuring compliance with state laws falls within the proper exercise

of Chief Lawson’s responsibilities, such that Chief Lawson had constructive knowledge. Thus,

based on the evidence put forth by Plaintiff, a reasonable trier of fact could find that the City of

Gretna violated 42 U.S.C. § 1983 in retaliating against Plaintiff for exercising his First Amendment

right to free speech regarding a quota system.

B.        Whether the Defendants are entitled to summary judgment on Plaintiff’s Louisiana

          Whistleblower Statute claims?

          1.     Legal Standard

          Louisiana Revised Statute 40:2401.1(A) states:

          No municipality or any police department thereof, nor any parish or any sheriff's
          department thereof, shall establish or maintain, formally or informally, a plan to
          evaluate, promote, compensate, or discipline a law enforcement officer on the basis
          of the officer making a predetermined or specified number of any type or
          combination of types of arrests or require or suggest to a law enforcement officer,
          that the law enforcement officer is required or expected to make a predetermined
          or specified number of any type or combination of types of arrests within a specified
          period.

Section (B) of the statute likewise prohibits police departments from establishing traffic citation

quotas.

          Louisiana Revised Statute 23:967(A) states, in pertinent part: “An employer shall not take

reprisal against an employee who in good faith, and after advising the employer of the violation of

                                                   62
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law: (1) Discloses or threatens to disclose a workplace act or practice that is in violation of state

law . . . (3) Objects to or refuses to participate in an employment act or practice that is in violation

of law.” Under Section 23:967(C)(1), “reprisal” includes firing. Section 23:967(B) states: “An

employee may commence a civil action in a district court where the violation occurred against any

employer who engages in a practice prohibited by Subsection A of this Section. If the court finds

the provisions of Subsection A of this Section have been violated, the plaintiff may recover from

the employer damages, reasonable attorney fees, and court costs.”

        2.      Analysis

        Plaintiff argues that a quota system exists within the Gretna Police Department in violation

of Louisiana Revised Statute 40:2401.1, and that he disclosed the unlawful quota system to law

enforcement authorities within and outside his agency and department. Plaintiff further argues that

his employer engaged in reprisal for his reporting and refusal to participate in the unlawful quota

system, in violation of Louisiana Revised Statute 23:967. Defendants argue that Plaintiff has not

proven that his employer committed an actual violation of state law, as required by the

whistleblower statute to qualify for protection. Specifically, Defendants argue that there was no

quota system present at the Gretna Police Department, and therefore there was no actual violation

of state law, upon which a whistleblower claim can be based.

        Whether the Gretna Police Department established a quota system in violation of Louisiana

Revised Statute 40:2401 is a question of material fact. As previously stated, Plaintiff puts forth

evidence that a required quota of “10-2-2” was utilized within the Gretna Police Department since

at least 2007 and required patrol officers to have at least 10 items, 2 citations, and 2 arrests per




                                                  63
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shift, which had to equal to the required total by the end of the month.282 In support, Plaintiff

points to the declaration of former officer Heintz as evidence that he was written up twice in 2007

for “unsatisfactory performance” for failing to meet the required quota at that time of two citations

per shift. 283 Plaintiff also points to evidence previously discussed that a shift supervisor was

required to keep statistics of subordinate officers which would be given to Captain Scott Vinson.284

In further support, Plaintiff points to evidence previously discussed that if the required quota was

not met, an officer could be written up, suspended, and/or ultimately terminated; and if supervising

officers did not enforce the Gretna Police Department’s policy, practice, and custom of

institutionalized quotas they would also be subject to discipline. 285 Finally, as previously

discussed, Plaintiff also points to his deposition testimony, supported by the declarations of former

Gretna police officers David Brian Heintz and Paige Brittany Brouillette, as evidence that a quota

policy existed in 2014 requiring issuance of three citations a day and an average of one arrest every

two days.286

         Defendants argue that Plaintiff only puts forth evidence of police officer’s understanding

that a quota system existed, rather than any actual evidence that a quota system existed. However,



         282
            Rec. Doc. 35-9 at 1 (citing Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶ 17; Rec. Doc. 31-2
(Deposition of Daniel Swear) at 17; Rec. Doc. 35-4 (Declaration of Daniel Wayde Swear) at 40); Rec. Doc. 35-3
(Declaration of Paige Brittany Brouillette) at ¶ 8).
         283
               Id. (citing Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶¶ 11-13)
         284
            Id. at 2 (citing Rec. Doc. 35-1 (Declaration of David Brian Heintz) at ¶19; Rec. Doc. 35-2 (Declaration
of Paul Pichoff) at 9–11).
         285
             Id. at 2 (citing Rec. Doc. 35-2 (Declaration of Paul Pichoff); Rec. Doc. 35-3 (Declaration of Paige Brittany
Brouillette) at ¶ 7; Rec. Doc. 35-1(Declaration of David Brian Heintz) at ¶ 26; Rec. Doc. 31-2 (Deposition of Daniel
Swear) at 20-21, 34, Rec. Doc. 35-4 (Declaration of Daniel Wayde Swear) at 4, 5, 49).
         286
            Id. at 4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 21, 28-29, 111-112; Rec. Doc. 35-3
(Declaration of Paige Brittany Brouillette) at ¶¶ 7, 11; Rec. Doc. 35-4 (Declaration of Daniel Swear) at 4, 5, 49).

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as previously stated, a police officer’s understanding that a quota system existed, though perhaps

not dispositive, may be taken as evidence that a quota system did exist. Therefore, Plaintiff has at

least raised a disputed issue of material fact as to whether a policy or custom of implementing

quota systems by the Gretna Police Department exists.

        Plaintiff points to his deposition testimony as evidence that he informed his supervisor,

Sergeant Danielle Rodriguez, that the quota system was a violation of Louisiana law following the

December 20, 2014 meeting.287 Furthermore, Defendants do not argue that Plaintiff did not report

the violation of law to his employer before disclosing, objecting to, or refusing to participate in the

quota system. Plaintiff additionally points to previously discussed evidence that he disclosed the

Gretna Police Department’s practice of utilizing a quota system to multiple individuals within and

outside of the Department. 288 Plaintiff also points to previously discussed evidence that he

objected to and refused to participate in the quota, including openly protesting the quota policy to

“anyone and everyone,” attaching a license plate displaying Louisiana Revised Statute 40:2401 to

his car, and refusing to participate in the quota system resulting in a write-up.289 Defendants do

not argue that Plaintiff’s disclosure of, objection to, or refusal to participate in the quota policy

was not in good faith.

        Plaintiff points to previously discussed evidence that he was constructively discharged for

speaking out against the quota system. Specifically, Plaintiff points to evidence that Vinson told

Plaintiff that “he had a very serious problem with the quote-unquote poison that [Plaintiff] was


        287
            Rec. Doc. 35-9 at 4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 104; Rec. Doc. 35-4,
(Declaration of Daniel Swear) Exs. 1, 2).
        288
              Id. at 5 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 47, 101, 132 and 141).
        289
              Id. at 4 (citing Rec. Doc. 35-4 (Declaration of Daniel Swear) at 24–25, 49).

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spreading,” at the February 2, 2015 meeting, at which he was demoted.290 Plaintiff also points to

evidence that at the same meeting, Vinson threatened to request termination of Plaintiff’s

employment, and suggested that he would persist in pursuing Plaintiff’s termination if initial

attempts were unsuccessful.291 According to Plaintiff’s deposition testimony, “There was a heavy

emphasis on [Plaintiff] spreading poison of this quota system. That was the focus of [the

meeting].”292 Plaintiff also stated in his deposition, “voicing my opinion and my concern for the

legality of the issue, that that's when [Vinson] started speaking about [] requesting that I be fired

and if he didn't get it this time that he would get it in subsequent requests.”293

       In addition, according to Plaintiff’s deposition testimony, he was contacted by the head of

the Gretna Police Department’s Internal Affairs Bureau while still employed at the Gretna Police

Department and informed that he needed to remove the license plate from the vehicle if he wanted

to remain a member of the Gretna Police Department. Last, Plaintiff states in his deposition

testimony that Vinson told Plaintiff at a February 9, 2015 meeting that Plaintiff could either resign

immediately, or he would be terminated and investigated for making defamatory statements

against the Gretna Police Department. 294 Given the evidence Plaintiff has provided regarding

incidents of reprimand or threatened termination taken while or soon after Plaintiff was criticized

by Gretna Police Department personnel for his speech about the quotas, a reasonable trier of fact

could find that the Gretna Police Department took reprisal against Plaintiff after he disclosed the


       290
             Rec. Doc. 47 at 3 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 100–01).
       291
             Id. at 4.
       292
             Id. at 3–4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105).
       293
             Id. at 4 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 105).
       294
             Rec Doc. 47 at 5–6 (citing Rec. Doc. 31-2 (Deposition of Daniel Swear) at 53–54).

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illegality of the quota system and objected to and refused to participate in it.

       Accordingly, Plaintiff has raised a question of material fact as to whether he suffered

reprisal by the Gretna Police Department for disclosing the quota system and objecting to and

refusing to participate in the quota system, not appropriate for determination at the summary

judgment stage.

                                          IV. Conclusion

       For the reasons set forth above, Lawson is entitled to qualified immunity, which precludes

liability in his personal capacity, because there is no record evidence that he was involved in any

alleged violation of Plaintiff’s constitutional rights. Further, Plaintiff’s Section 1983 First

Amendment claim against Lawson and Vinson, in their official capacities, will be dismissed

because it mirrors Plaintiff’s Section 1983 claim against the City of Gretna, and such duplicative

claims are prohibited by law. Defendants’ motion for summary judgment with respect to Plaintiff’s

Fourteenth Amendment claim is also granted in favor of all Defendants and against Plaintiff, as

Plaintiff abandoned the claim during the hearing on October 11, 2017.

       However, Defendants’ motion for summary judgment with respect to Vinson’s qualified

immunity defense will be denied because an issue of material fact exists as to whether Vinson

violated Plaintiff’s constitutional right to speak out against the alleged quota system, and whether

his actions in doing so were objectively reasonable. Defendants’ motion for summary judgment

with respect to Plaintiff’s First Amendment claim against Defendant Scott Vinson, in his personal

capacity, will also be denied because there is an issue of material fact as to whether Defendant

constructively discharged Plaintiff in violation of his First Amendment right to be free from

retaliation for engaging in protected speech. Finally, Defendants’ motion for summary judgment


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with respect to Plaintiff’s Section 1983 First Amendment claim against the City of Gretna will also

be denied because there is an issue of material fact as to whether the Gretna Police Department

constructively discharged Plaintiff in violation of his First Amendment right to be free from

retaliation for engaging in protected speech, and as to whether any such constructive discharge

was caused by the Department’s custom of implementing a quota system.

        Accordingly,

        IT IS HEREBY ORDERED that Defendant’s Motion for Summary Judgment 295 is

GRANTED, in part, in favor of Defendant Arthur Lawson against Plaintiff with respect to

Defendant Arthur Lawson’s qualified immunity defense.

        IT IS FURTHER ORDERED that Defendant’s Motion for Summary Judgment is

GRANTED, in part, in favor of Defendants Arthur Lawson and Scott Vinson against Plaintiff

with respect to Plaintiff’s Section 1983 First Amendment claim against Defendants Arthur Lawson

and Scott Vinson, in their official capacities.

        IT IS FURTHER ORDERED that Defendant’s Motion for Summary Judgment is

GRANTED, in part, in favor of all Defendants with respect to Plaintiff’s Fourteenth Amendment

claim against all parties.




        295
              Rec. Doc. 31.

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       IT IS FURTHER ORDERED that Defendant’s Motion for Summary Judgment is

DENIED, in part, with respect to Defendant Scott Vinson’s qualified immunity defense,

Plaintiff’s First Amendment claim against Defendant Scott Vinson, in his personal capacity, and

Plaintiff’s Section 1983 First Amendment claim against the City of Gretna.

                                      12th day of January, 2018.
       NEW ORLEANS, LOUISIANA, this ________


                                            _________________________________________
                                            NANNETTE JOLIVETTE BROWN
                                            UNITED STATES DISTRICT JUDGE




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